Case: 1:25-cr-00204-BYP Doc #: 1 Filed: 05/01/25 1 of 61. PagelD #: 1

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OHIO
EASTERN DIVISION

UNITED STATES OF AMERICA, INDICTMENT

Plaintiff,

Vv.

DEREK BRANTLEY,
JUAN JOHNNY COLON,
LUIS JOEL RONDON,
SYDNEY ANTHONY,
RYAN BELL,

MARK BYRD,
NICHOLAS CALVERT,

)
)
)
)
)
)
)
)
)
)
)
)
.
JOCELYN DOLAN, ) PRA Per
ANTONIO GREENLEE, ) J U DGE PEARSO N
)
)
)
)
)
)
)
)
)
)
)
)

Sections 841(a)(1), (b)(1)(A),
(b)(1)(B), (b)C1)(C), 843(b), and
846; Title 18, United States
Code, Sections 922(g)(1)

ANDRE JENKINS,
MELANIE CRESPO,
JORDAN MARSH,
NICHOLAS MALUSKY,
SEAN MASTERS,
BRANDON PAYNE,
LEE POMALES,
MASON PULVINO,
MARTHA RIOS,
KALEM WATTS,

Defendants.
COUNT 1
(Conspiracy to Distribute and Possess with Intent to Distribute Cocaine,
21 U.S.C. §§ 846, 841(a)(1), (b)(1)(A))
The Grand Jury charges:

1. From on or about October 2023, to on or about December 2024, in the Northern

District of Ohio, Eastern Division, and elsewhere, Defendants DEREK BRANTLEY, JUAN
Case: 1:25-cr-00204-BYP Doc #: 1 Filed: 05/01/25 2 of 61. PagelD #: 2

JOHNNY COLON, LUIS JOEL RONDON, SYDNEY ANTHONY, RYAN BELL, MARK
BYRD, NICHOLAS CALVERT, JOCELYN DOLAN, ANTONIO GREENLEE, ANDRE
JENKINS, MELANIE CRESPO, JORDAN MARSH, NICHOLAS MALUSKY, SEAN
MASTERS, BRANDON PAYNE, LEE POMALES, MASON PULVINO, MARTHA RIOS,
KALEM WATTS did knowingly and intentionally combine, conspire, confederate, and agree
together and with each other and with diverse others known and unknown to the Grand Jury, to
distribute and possess with intent to distribute at least 5 kilograms or more of a mixture and
substance containing a detectable of cocaine, a Schedule II controlled substance, in violation of
Title 21, United States Code, Sections 841(a)(1) and (b)(1)(A).

MANNER AND MEANS OF THE CONSPIRACY

2. It was part of the conspiracy that:

A. It was part of the conspiracy that BRANTLEY supplied cocaine to
COLON in Cleveland, Ohio.

B. It was further part of the conspiracy that COLON and RONDON
distributed cocaine to others, including but not limited to: ANTHONY, BELL, BYRD,
CALVERT, DOLAN, GREENLEE, JENKINS, CRESPO, MARSH, MALUSKY, MASTERS,
PAYNE, POMALES, PULVINO, RIOS and WATTS, in the Northern District of Ohio and
elsewhere, who in turn possessed, transported, and distributed narcotics for redistribution.

C. It was further part of the conspiracy that COLON and RONDON
collected drug proceeds electronically and in paper U.S. Currency.

D. It was further part of the conspiracy that COLON, RONDON and RIOS
and others utilized 4**4 Archwood Avenue, Cleveland, Ohio, for storing and packaging cocaine

and methamphetamine pills for re-distribution, and to store firearms and distribute cocaine.
Case: 1:25-cr-00204-BYP Doc #: 1 Filed: 05/01/25 3 of 61. PagelD #: 3

E. It was further part of the conspiracy that COLON, DOLAN, and others
used 3**0 West 41‘ Street, Cleveland, Ohio, for the purpose of storing and distributing cocaine.

F, It was further part of the conspiracy that COLON, POMALES, and others
used 1**4 Clark Avenue, Cleveland, Ohio, for the purpose of storing and selling firearms and
distributing cocaine.

G. It was further part of the conspiracy that COLON, RONDON, and others
stored firearms at 3**7 Woodbridge Avenue, Cleveland, Ohio.

H. It was further part of the conspiracy that co-conspirators, including but not
limited to, ANTHONY and BYRD provided drug proceeds to RONDON to collect on behalf of
COLON.

I. It was further part of the conspiracy that BELL purchased narcotics and
drug pills from COLON and MARSH for distribution.

J. It was further part of the conspiracy that PULVINO was purchasing drugs
from COLON for re-distribution in North Carolina. Furthermore, PULVINO received drugs
from COLON utilizing a parcel delivery system.

K. It was further part of the conspiracy that GREENLEE facilitated drug
transactions between customers and COLON.

L. It was further part of the conspiracy that the co-conspirators used cellular
telephones to make and receive telephone calls and to send and receive text or other electronic
messages, to conduct their drug trafficking activity.

M. It was further part of the conspiracy that the conspirators conducted

counter-surveillance of law enforcement and shared information with each other about law
Case: 1:25-cr-00204-BYP Doc #: 1 Filed: 05/01/25 4 of 61. PagelD #: 4

enforcement’s presence. Furthermore, the conspirators utilized lookouts and electronic
surveillance to detect law enforcement’s presence.

N. It was further part of the conspiracy that the conspirators, when using
cellular telephones, text messaging or other electronic communication to conduct drug
trafficking activity, used slang terms, street terminology, and code words and phrases for
controlled substances to obscure and disguise the true nature of their activities and the true
meaning of their conversations.

ACTS IN FURTHERANCE OF THE CONSPIRACY

3, In furtherance thereof, and to effect and conceal the existence of the conspiracy,
the Defendants and others performed acts in the Northern District of Ohio, and elsewhere,
including but not limited to the following:

4. On March 4, 2024, at approximately 12:30 p.m., COLON and RONDON exited
3**0 W 41 Street, Cleveland, Ohio. COLON and RONDON entered COLON’s Jeep, departed
the residence, and drove to the BP gas station at the corner of Fulton and Denison in Cleveland,
Ohio.

5. On March 4, 2024, MASTERS drove to the BP gas station at the corner of Fulton
and Denison in Cleveland, Ohio.

6. On March 4, 2024, COLON, RONDON, and MASTERS met at a BP gas station
in Cleveland, Ohio.

7. On March 27, 2024, RONDON distributed 12.95 grams of cocaine to a person
posing as a drug buyer.

8. On April 3, 2024, RONDON distributed 13.40 grams of cocaine to a person

posing as a drug buyer
Case: 1:25-cr-00204-BYP Doc #: 1 Filed: 05/01/25 5 of 61. PagelID #: 5

9. On April 17, 2024, RONDON distributed 26.86 grams of cocaine to a person
posing as a drug buyer.

10. On May 1, 2024, RONDON distributed 14.36 grams of cocaine to a person posing
as a drug buyer.

11. On May 8, 2024, at approximately 8:30 p.m., COLON received an incoming call
from an inmate at Mansfield Correctional Institution. COLON said, “I talked to my people’s
[drug suppliers] and s**t, you know, down in, from Texas or whatever whatever, duh duh duh.”
Inmate replied, “Ya.” COLON said, “And uh, Man n***a say he was gonna sell me these
m** KKK Cards [drug sheets] and he was gonna give me two of them b*****s for uh, for
250 [cost of drug sheets] and some gas so.” Inmate replied, “250?” COLON said, “2 sheets
[drug sheets].” Inmate replied, “Oh ya? Ya but see that’s what I’m saying it ain’t no way in here,
brother.” COLON said, ‘““What’s you mean?” Inmate replied, “No. Ain’t no routes in here,
man. Like, it’s hot right now, boy.” COLON said, “What’s you mean? S**t. N***a, that n***a
n***g gonna write you, write you, write you a letter [drug letter].” Inmate replied, “Nah, see
what they do is they, they, they take all the mail and, uh, uhm they take all the mail and, uhm,
copy it and then give it to, that s**t dead boy.” COLON said, “Oh wow!” Inmate replied, “Ya,
that s**t, they doing that s**t, like, the feds and s**t, | mean you know me though, man. At the
uhm, at the end of the day, man, you know I already, I’m, I’m good, you hear me, I’m waiting to
level down, boy.” Inmate replied, “Ya, that date that all that s***s f****d up right now, you
know what I mean? They copying everything, man.” COLON said, “Oh, so they, they just ain’t
no way huh?” Inmate replied, “Nuh uh.” COLON said, “Damn! I just found both plugs [drug
source], too, man.” Inmate replied, “Ya, no, well you know, keep ‘em, keep ‘em on hand and

s**t, make sure you got the numbers locked in cuz, when, you know what I mean, when I call I
Case: 1:25-cr-00204-BYP Doc #: 1 Filed: 05/01/25 6 of 61. PagelD #: 6

say I’m ready, I’m ready, boy.” COLON said, “Ya.” Inmate replied, “Hell ya, you know what I
mean?” COLON said, “My n***a’s [suppliers] been blowing me up. They been blowing me up
all day. They like, ‘N***a it’s ready to mail out.’ They go, ‘All you gotta do is hit my
Cashapp.’ They in Texas.” Inmate replied, “Ya, you know my people. You know Ray and
them, Ray, my cousin Ray and s**t, you know I mean, his nephew and s**t got that sewed up
and s**t. I would have been made a move and s**t, It’s just, It ain’t shaking here.” COLON said,
“I was up all night putting this move together like f**k it I finally got it now.” Inmate replied,
“No see it would have been good before but right now no. They switched all that s**t up because
they got hip to everything [prison learned of drug sheets being introduced into prison]. Hell ya.
What’s you doing though?” Inmate said, “If anything I’m a let you go, man, I’m a call you and
s**t now I know this f****n phone number, what happened to the Google voice number?”
COLON replied, “Oh no, I got a new jack [new telephone number].” Inmate said, “Oh ya?”
COLON replied, “Ya. 600-6385. I got this, I got the other number too. I got this number that
you called me on too, but I still got another number.” Inmate said, “Oh I’m a just keep this one
man. Aye, aye, send that n***a uhm, this n***a, Joel [RONDON], he just be spending money
man, like it, I tell that n***a, I get an***a give me a hundred last week and like ya, ‘cuz he
already spent it, you know I mean, he owed me and s**t, but Pm like f**k it, I see him
struggling and s**t, so go ahead and just keep that, you know I mean, keep that hundred but.”
COLON replied, “He not struggling though. He not struggling.” Inmate said, “Ya, he just be
spending s**t, man. Then when I want him to send something, he can’t send it, you know I
mean, that be throwing me off.” COLON replied, “Ya.” Inmate said, “I ain’t gonna lie he been
really looking out for a n***a, you know I mean, come outside like when I call he pick up and

s**t so I can’t really complain, you know, n***a be getting frustrated with s**t like that, you
Case: 1:25-cr-00204-BYP Doc #: 1 Filed: 05/01/25 7 of 61. PagelD #: 7

know what I’m talking about.” COLON replied, “Ya.” Inmate said, “Hey, hey do me a favor
tho, send that n***a, uhm, send that n***a $20, man, tell that n***a, uhm, send that to that
people I told him to send it to.” COLON replied, “Who? Joel [RONDON]?” Inmate said, “Ya.”
COLON replied, “I ain’t got, my s**t, s**t man n***a hold on, my Cashapp empty. I just hung
up with my n***a like twenty minutes ago, he just called me for some money. I said, ‘You gotta
hit me tomorrow or Thursday because my s**t empty right now.’” Inmate said he was going to
link up with “Bomba” in Trumbull Correctional and call COLON back tomorrow.

12. On May 8, 2024, at approximately 10:12 p.m., COLON received an incoming call
from CALVERT. COLON said, “Hello, what’s up? What?” CALVERT replied, “Can I come
holla at you [pick up drugs]?” COLON said, “What’s you wanted [amount of drugs]?”
CALVERT replied, “Uh, I’m not sure yet. I don’t know yet, I’m waiting on dude to call me
back [redistributing to drug customer].” COLON said, “Alright, well, call me when he is ready.”
CALVERT replied, “I’m ready now, but he’s gonna call back in the next ten minutes. So, PII
know before I get there [COLON’s].”

13. On May 8, 2024, at approximately 10:40 p.m., COLON received an incoming text
message from CALVERT, wherein CALVERT texted, “I’m like 15-20 minutes away. I need half
the basketball (basketball emoji) [half an eight ball of drugs, 1.75 grams of cocaine].”

14. On May 10, 2024, at approximately 3:46 p.m., COLON received an incoming call
from BELL. COLON said, “What up with it?” BELL replied, “S**t. You around?” COLON
said, “Yeah.” BELL replied, “Umm, I’ll be by in like, I don’t know, less than 15. Cool see ya in
a bit.”

15. On May 10, 2024, at approximately 3:47 p.m., COLON made an outgoing call to

GREENLEE. COLON said, “Yeah, you leave the house yet?” GREENLEE replied, “Who this?
Case: 1:25-cr-00204-BYP Doc #: 1 Filed: 05/01/25 8 of 61. PagelD #: 8

... B***h, why you calling with no caller ID?’ COLON said, “No caller ID, I just call you with
my f*****o phone.” GREENLEE replied, “Well, you blocked your caller ID, b***h.” COLON
said, “No I didn’t... . You leaving the house right now?” GREENLEE replied,

1 ACI oF Darking the cars, yeah, why?” COLON said, “Oh, ok, cause I was going to
tell you. . . I was going to tell you to stop by mommy’s [RIOS] and grab that bag [bag of drugs]
that’s under my pillow.” GREENLEE replied, “Well tell mommy [RIOS] I’m gonna come get it
[drugs].”

16. On May 15, 2024, at approximately 1:45 p.m., COLON received an incoming call
from GREENLEE. GREENLEE said, “Yo, where you at turkey boy?” COLON replied,
“1309".” GREENLEE said, “Call me when you get back down here, I’m over here on 25th.”
COLON replied, “Ok.” GREENLEE said, “Come pick up this little punk a** money [drug
proceeds], get some, I’ll give you some [booty].” GREENLEE said, “Alright, thank you.”

17. On May 17, 2024, at approximately 4:38 p.m., COLON received an incoming call
from MASTERS. MASTERS said, “At your place?” COLON replied, “Nahh, I will meet you at
the gas station [drug meet].” MASTERS said, “Where at the BP?” COLON replied, “Nahh, the
one across the street.” MASTERS said, “Which one?” COLON replied, “The one across the
street.” MASTERS said, “Across the street? You talking about. Which one?” COLON replied,
“Across the street from the BP.” MASTERS said, “Oh, ok cause BP got s**t [law enforcement
cameras] setup up there [laughs]. COLON replied, “Yeah call me as soon as you get over
there.” MASTERS said, “Yeah, I am right here by this street now, I am going to circle.”
COLON replied, “Alright I will be there, I am on my way.”

18. On May 17, 2024, at approximately 8:24 p.m., COLON received an incoming call

from PULVINO. COLON said, “Yea-yea, nah, I’ve been just, I been a little tied up, I ain’t even
Case: 1:25-cr-00204-BYP Doc #: 1 Filed: 05/01/25 9 of 61. PagelD #: 9

got around to it man, I’ve been tied up.” PULVINO replied, “You been bulls**ttin’ or goddamn
f***in’ and are you f***in’ have looked into it or what?” COLON said, “I’m not really because
I’ve tied the f**k up.” PULVINO replied, “All you gotta do have f**kin’ Joe-Smo f**kin’ pull
up, drop it [drug parcel] off and then f*kin’, um, address to Joe-Smo and then f**kin’, it ain’t
nothin’ it, it nothin’ to it, you know what I mean?” COLON said, “Yea, um.” PULVINO
replied, “That f**kin’ crackhead Daniel’s down the street, drop off and f**kin’ at the thing,
know what I mean?” COLON said, “Oh yea-yea-yea for sure. I just gotta make sure it’s gotta
through you know, the best to um, go around the um, the-the thing, yea I get you. The...”
PULVINO replied, “Do what you gotta do.” COLON said, “That radar whatever the f**k it
called.” PULVINO replied, “Yea, just let me know, I was trying to f**kin’ get it out here, you
understand?” COLON said, “I wanna say, I want-I want say overnight deliveries would
probably be better.” PULVINO replied, “I think so too, I think so too because then won’t be no
f**kin’ around waitin’ for it wonderin’ the f**k it’s at type s**t.” COLON said, “Right-right-
right.” PULVINO replied, “So yea, but just let me know f**kin ‘cause that, uh, cost a little bit of
money, let me know, and I’Il cover the overhead.” COLON said, “Alright.” PULVINO replied,
“Alright bro, uh, let me know when you, damn you sat on my hat. I should f**k you up. Yea, let
me know what’s up with that though, ‘cause I’m tryin’ to get active [setup drug distribution] out
here type s**t.” COLON said, “Okay.” PULVINO replied, “Alright, bro, you good?” COLON
said, “Yep. I’m at the barbershop.” [PULVINO was directing COLON on how to send him
narcotics through the mail to his location at Fort Bragg and avoid detection by law enforcement].
19. On May 17, 2024, at approximately 10:04 p.m., COLON received an incoming
call from DOLAN. DOLAN said, “Hello.” COLON replied, “Yea. Yea.” DOLAN said, “Go

hit a lick [sell drugs] real-quick.” COLON replied, “Yea, I’m all there, I’m headed back there
‘Case: 1:25-cr-00204-BYP Doc #:1 Filed: 05/01/25 10 of 61. PagelD #: 10

right now.” DOLAN said, “Did you already get that other half [half ounce of drugs]?” COLON
replied, “I got it [drugs] just, I got it.” DOLAN said, “Alright um, go hit this real-quick [sell
drugs].” COLON replied, “I'll be at the house.”

20. On May 17, 2024, at approximately 10:21 p.m., COLON received an incoming
call from DOLAN. DOLAN said, “Okay, so let him in, ‘cause I gotta go hit another lick [sell
drugs]?” COLON said, “Yea, let him in, I’m on my way there.” DOLAN said, “Hey, snitch
[someone believed to be cooperating with law enforcement] is here, be safe.”

21. On May 17, 2024, at approximately 11:53 pm., COLON received an incoming
telephone call from BYRD. BYRD said, “Ay I-I-I got five [drug proceeds], I got five for you
right now.” COLON replied, “S**t I could use that mother***a s**t right now too.” BYRD
said, “Alright, cool, I’ll put, it’s take like an hour to get down, ‘cause I gotta to run out to Rocky
River real-quick to go hit a note [drug deal]. But then I could slide downtown from Rocky
River.”

22. OnMay 18, 2024, at approximately 4:32 p.m., COLON received an incoming
telephone call from RONDON. COLON said, “Hello.” RONDON replied, “Nate just called me,
I mean Nick [CALVERT], whatever the f**k his name is, he needs a uno veinte cinco [125], you
want me to cut them [drugs] up?” COLON replied, “Yep. Cut them [drugs] up with the knife,
charge him 150...” RONDON said, “I told him 150, he was like, “I ain’t making no money for
125, bro [redistributing narcotics].”” COLON replied, “Yeah, you know what? Let me call this
n***a, ain’t going to call him, I’m about to text him.”

23. On May 19, 2024, at approximately 12:53 p.m., COLON made an outgoing call to

MASTERS. MASTERS, “Yo what up?” COLON replied, “Yeah I’m right here at the pump.

10
Case: 1:25-cr-00204-BYP Doc #:1 Filed: 05/01/25 11 of 61. PagelD #: 11

Where you at?” MASTERS said, “At the same station, right?” COLON replied, “Yeah, yeah,
yep. I’m right here.” MASTERS said, “In the black truck? Alright. Alright.”

24. On May 19, 2024, at approximately 4:50 p.m., COLON made an outgoing
telephone call to RONDON. COLON said, “Bring me that bag down.” RONDON replied,
“Which one?” COLON said, “Big bag.” RONDON replied, “Big bag.”

25. On May 19, 2024, at approximately 5:36 p.m., COLON made an outgoing
telephone call to RONDON. COLON said, “B***h, we cookin out on Woodbridge, ain’t
nobody got time for your weak a** s**t.” RONDON replied, “I’m on my way.” COLON said,
“You ain’t on your way, cause I’m downstairs, b***h, now bring me that one that’s in the, uh,
that 40 [.40 caliber firearm] that’s in the case.”

26. On May 20, 2024, at approximately 12:54 p.m., COLON and A.A., a person
known to the Grand Jury, had a phone conversation. A.A. said, “Yo.” COLON replied, “Who
the f**k is this?” A.A. said, “It’s cookie.” COLON replied, “Oh, why you sending me that fruit
cake a** s**t, where that n***a Santos and Omar?” A.A. said, “I don’t know, I ain’t talked to
them since Friday, I ain’t answered my phone.” COLON replied, “Call them n***as and tell
them they gotta bring that mother f**king pistol back, them n***as got life f**ked up.” A.A.
said, “Alright I'll try and get a hold of them, but I ain’t talked to them since Friday. I don’t
know. You saw them. When did you see them?” COLON replied, “My niece’s little boyfriend
left his book bag in Omar car with his gun in it, and they started going through his s**t they
- found his gun, and then they going to turn they phones off so no one can contact them, they
better bring that pistol back.” A.A. said, “If I holla at them I'll let them know, hey you around?”

COLON replied, “Right now?” A.A. said, “Yeah.” COLON replied, “Kinda.” A.A. said,

11
Case: 1:25-cr-00204-BYP Doc #:1 Filed: 05/01/25 12 of 61. PagelD #: 12

“What, like, 15 minutes, I’m downtown.” COLON replied, “Yeah.” A.A. said, “Alright ’m on
my way.” COLON replied, “Alright ll meet you on Woodbridge.” A.A. said, “Alright.”

27. On May 20, 2024, at approximately 1:14 p.m., A.A. drove to Woodbridge Avenue
in Cleveland, Ohio.

28. On May 21, 2024, at approximately 1:33 p.m., A.A., COLON, JENKINS, and
A.V., a person known to the Grand Jury, drove to 4**4 Archwood Avenue, Cleveland, Ohio, and
met for a short period of time. COLON and JENKINS distributed narcotics to A.A.

29. On May 21, 2024, at approximately 1:54 p.m., COLON made an outgoing
telephone call to RONDON. COLON said, “Not yesterday, the day before yesterday, when I
told you to bring the little pistol inside the house, where’d you put it?” RONDON replied, “You
talking about the 40?” COLON said, “No, I’m talking about the little one, the little 9 mm. I told
you to take this and bring it to mommy’s [RIOS].” RONDON replied, “Oh no, Candy has it.”

30. On May 21, 2024, at approximately 7:55 p.m., COLON received an incoming
telephone call from PAYNE. COLON said, “Yo.” PAYNE replied, “Yo, can I come through
[drug meet].” COLON said, “Yea, give me a second. I’m going to call you when I get to the
house. I’m picking up this food.”

31. On May 21, 2024, at approximately 8:56 p.m., COLON made an outgoing
telephone call to MASTERS. COLON said, “Who wanted that [drugs]?” MASTERS replied, “T
wanna pick it [drugs] up.” COLON said, “Huh.” MASTERS replied, “I wanna pick it up [for
redistribution], I got a dude wantin it [drugs].” COLON said, “You said you got a dude that
want it [drugs]?” MASTERS replied, “Yea, my neighbor guy is looking for somebody [drug
supplier] he said his guys [supplier] been f*****g him around.” COLON said, “Well, when you

want it [drugs]?” MASTERS replied, “Tonight if you can do it, what, ah, you do it for [charge

12
Case: 1:25-cr-00204-BYP Doc #:1 Filed: 05/01/25 13 of 61. PagelD #: 13

for drugs]?” COLON said, “Um, I mean, where you can make the money.” MASTERS replied,
“All right well...” COLON said, “So I’ll do, like, ah, I’ll do, like, P’Il do, like, f****n 900
13900 US dollars/cost of drugs].” MASTERS replied, “Alright, let me hit him up and see what’s
going.” COLON said, “Alright.” MASTERS replied, “Let me get right back with ya.”

32. On May 21, 2024, at approximately 9:43 p.m., COLON received an incoming
telephone call from RONDON. COLON told RONDON he [MASTERS] was in a white Altima
with tinted windows.

33. On May 21, 2024, at approximately 9:45 p.m., COLON mad an outgoing
telephone call to MASTERS. MASTERS said, “Yeah.” COLON replied, “You at gas and Go?”
MASTERS said, “Yeah I’m at the pump.” COLON replied, “You see Joel [RONDON]?”
MASTERS said, “Is he wearing a hat?” COLON replied, “He walking with sandals on.”
MASTERS said, “Sandals, oh no.” COLON replied, “Sandals and a hat.” MASTERS said,
“Yea, I seen he was eyeballing, I didn’t know what, that’s him probably huh, yeah, he was over
here looking I seen him up in front.” COLON replied, “Yea.” MASTERS said, “Yeah, I seen
him.” At approximately 9:48 p.m., RONDON walked north across Archwood Avenue and
returning to 4**4 Archwood Avenue, Cleveland, Ohio.

34. On May 22, 2024, at approximately 3:33 p.m., COLON made an outgoing
telephone call to WATTS. WATTS said, “Yo.” COLON replied, “Yo, What up n***a?”
WATTS said, “Wassup which you bro? What you up to?” COLON replied, “S**t, moving
around [selling drugs/collecting drug proceeds].” WATTS said, “Yeah, yeah.” COLON replied,
“Called to see if yo a** done with that little a** pack [amount of drugs]?” WATTS said, “Oh
yeah, I’ll get you [return the drug proceeds].” COLON replied, “Huh?” WATTS said, “Yeah,

yeah, Ill get you together [get drug money].” COLON replied, “Well, come on so I can get you

13
Case: 1:25-cr-00204-BYP Doc #:1 Filed: 05/01/25 14 of 61. PagelD #: 14

together [supply him again], cause I got some s**t to do.” WATTS said, “Ahh fo sho.” COLON
replied, “Ya’ll guys pull up [bring the drug money] on me when ya ready.” WATTS said,
“Aight fa sho, aight.”

35. On May 22, 2024, at approximately 4:59 p.m., COLON received an incoming
telephone call from an inmate at the Mansfield Correction Facility Inmate who said, “Listen I
bust that move and s**t, my brother ain’t picking for some reason man and I’m trying to send
this n***a two bands real quick, man...” COLON replied, “Where’s at...” Inmate said, “I
talked to him four days ago, I call him like I called you, It’s a hit or miss with s**t, so when it’s
here, you gotta grab this s**t you see what I’m saying.” COLON replied, “Oh ok...” Inmate
said, “At the end of the day man, soon as my brother pick up the phone I’ll send the two bands
back to you or you can just inv it, it don’t matter to me, you know what I mean, but at the end of
the day I need to bust this move [drug deal] you hear me?” COLON replied, “Right.” COLON
said, “Oh, so you'll be able to bust your move while you’re still there [referring to still being in
prison while doing the drug transaction]?” Inmate replied, “Yeah, yeah either way I got you.”

36. On May 22, 2024, at approximately 6:19 p.m., COLON made an outgoing
telephone call to RONDON. COLON said, “You remember where I put my stuff in the
refrigerator right, in that little thing next to yours?” RONDON replied, “Naw, I didn’t see
where?” COLON said, “It’s right where you got yours on the next drawer.” RONDON replied,
“Oh next drawer?” COLON said, “Yeah, the next thing, the next thing over in the refrigerator, all
right there’s two bags. There’s one to the left and one to the right. Bring me the one to the right,
now.” RONDON replied, “Alright.”

37. On May 22, 2024, at approximately 7:32 p.m., COLON received an incoming text

message from CALVERT, wherein CALVERT texted, “It’s Ole girls bday. I got 50 can you.

14
Case: 1:25-cr-00204-BYP Doc #:1 Filed: 05/01/25 15 of 61. PagelD #: 15

Throw me da basketball [basketball emoji - eight ball of drugs, 1/8 of an ounce] I got you at least
$200 satutgot.” At approximately 7:32 p.m., CALVERT also sent a follow-up text correcting the
spelling to the prior text, “Saturday.”

38. On May 23, 2024, at approximately 6:15 p.m., COLON received an incoming
telephone call from JENKINS. COLON said, “Hello.” JENKINS replied, “Yeah, dude. ’m
back at the house.” COLON said, “Aw s**t. Meet me at mommy’s house [RIOS’s house]. Pll
be over there in a little bit. If you got something to do you can do that. I’m grabbing some food
with her real-quick.” JENKINS replied, “Yeah. I’m going to go check umm, umm, pick up this
money and I’1l meet you at mama’s house.” COLON said, “Alright.”

39, On May 24, 2024, at approximately 2:53 p.m., COLON made an outgoing
telephone call to BRANTLEY. COLON said, “Man, where you at?” BRANTLEY replied, “In
the God damn shower. I’m about to spaz, there’s not even any water.” COLON said, “You still
in those double buildings over there where I came to you one time [picked up drugs]?”
BRANTLEY replied, “Huh?” COLON said, “I said, you still in that building I came to you one
time, like next to the store?” BRANTLEY replied, “Yeah.” COLON said, “Alright, cause I’m
down. All the way down the street. I’m, I don’t know, all the way down the street. I’m about to
turn around and go over there [respond to BRANTLEY’s location].”

AQ, On May 24, 2024, at approximately 3:05 p.m., COLON received an incoming
telephone call from BRANTLEY. COLON said, “I’m about to come up there now. I’m talking
to the door dude in the store right here.”

41. On May 25, 2024, at approximately 3:52 p.m., COLON made an outgoing

telephone call to RONDON. RONDON said, “Bro where is he [CALVERT] at?” COLON

15
Case: 1:25-cr-00204-BYP Doc #:1 Filed: 05/01/25 16 of 61. PagelD #: 16

replied, “He [CALVERT] should be at the Gas & Go.” RONDON said, “He [CALVERT] ain’t
here.”

42. On May 25, 2024, at approximately 6:55 p.m., COLON received an incoming
telephone call from MALUSKY. COLON said, "Yo yo." MALUSKY replied, “Hey, can I
come see you [buy drugs]?” COLON said, “Yes, you can.” MALUSKY replied, “Ah ok, let me
do two [amount of drugs].”” COLON said, “Alright.”

43. On May 25, 2024, at approximately 9:18 p.m., COLON made an outgoing
telephone call to RONDON. RONDON said, “What do you want?” COLON replied, “I need
that bag [narcotics] you took upstairs yesterday.” RONDON said, “N***a, you got that...
stairs.” COLON replied, “No n***a, the one I went to the eastside [pickup from DEREK
BRANTLEY] for fool.” RONDON said, “Oh, oh, oh. Where you at?” COLON replied,
“Downstairs.” RONDON said, “Ok, P’ll come down now.”

44. On May 26, 2024, at approximately 4:04 p.m., COLON made an outgoing
telephone call to RONDON. RONDON said, “Uh, uh, white boy [CALVERT] keep calling me.”
COLON replied, “I know, I told ‘em.” RONDON said, “Want me to take care of that [sell drugs
to CALVERT]?” COLON replied, “I know I told him [CALVERT] to call you.”

45. On May 27, 2024, at approximately 3:19 p.m., COLON received an incoming
telephone call from CALVERT. COLON said, “Yo.” CALVERT replied, “Hey, what’s up I’m
in Cleveland right by Lakewood, I’m waiting on my cousin he’s coming from Strongsville to be
bring me.” COLON said, “I’m out on the bike call Joel’s phone [RONDON].” CALVERT
replied, “Okay, that’s what’s up.”

46. On May 27, 2024, at approximately 3:20 p.m., COLON received an incoming

telephone call from RONDON. RONDON said, “What’s up?” COLON replied, “Nick

16
Case: 1:25-cr-00204-BYP Doc #:1 Filed: 05/01/25 17 of 61. PagelD #: 17

[CALVERT] called you, he said he needs a ballie [eight ball of drugs- 1/8 of an ounce of
cocaine].”

47. On May 28, 2024, at approximately 3:36 p.m., COLON received an incoming
telephone call from RONDON. COLON said, “In a minute. When you gonna be finished
buddy?” RONDON replied, “Ah s**t, I should be finished by tomorrow. I’m waiting for her
[ANTHONY] to give me that [drug proceeds] cause I gotta give you, I gotta give you, you said
four, I gotta give you five?” COLON said, “Five Fifty [$550].” RONDON replied, “Yep.”
COLON said, “Yes, umm do you want me to all and put the press down like yo, shorty, that’s
mine. I need that [drug proceeds]?” RONDON replied, “No, she [ANTHONY] knows.”
COLON said, “Alright, yeah, I’m about to head that way. I’m heading that way right now
anyways.” RONDON replied, “.. . n***a, but she take too long. Trying to get my new place, but
she, she know I say you got give me the rest of the money before the first.” COLON said,
“Yeah, for sure. Alright, I’m about to head that way.”

48. On May 28, 2024, at approximately 8:35 p.m., COLON made an outgoing
telephone call to JENKINS. JENKINS said, “Hello.” COLON replied, “Alright. He’s there
[drug facilitator].” JENKINS said, “Alright. ’m on my way.” COLON replied, “It’s a fat
Puerto Rican n***a and should be, like, in a maroon car or a little red car.” JENKINS said,
“Okay. I’m going there right now [to distribute drugs].”

49. On May 28, 2024, at approximately 8:42 p.m., COLON made an outgoing
telephone call to JENKINS. JENKINS said, “Yeah. I’m in the car with him. We got to go out to,
umm, Berea [city in Ohio].” COLON replied, “Okay.” JENKINS said, “Yeah. But, hey, when

he there, he get there, he going to run that [drugs] in. That’s cool, right?” COLON replied,

17
Case: 1:25-cr-00204-BYP Doc #:1 Filed: 05/01/25 18 of 61. PagelD #: 18

“Yeah, yeah, yeah.” JENKINS said, “Okay. Okay. I just want to make sure.” COLON replied,
“Yup.” JENKINS said, “Alright.”

50. On May 28, 2024, at approximately 9:08 p.m., COLON received an incoming
telephone call from JENKINS. JENKINS said, “Hey. He, he, umm, old dude told me let you
know he said he pay more, umm, like $650 a zip [ounce of drugs].” COLON replied, “Huh?”
JENKINS said, “Six oh, oh, ok, ok, ok. Alright I'll holler at you when I’m almost there. PII call
you in a minute.” COLON replied, “Alright. Bye.”

S51, On May 28, 2024, at approximately 9:57 p.m., COLON received an incoming
telephone call from WATTS. WATTS said, “S**t. I gotta come link up with you [get drugs].”
COLON replied, “Yeah.” WATTS said, “Well I’m going to come give you what the f**k I got
[drug money], and I need to get like a seven game or something so I go get busy [amount of
drugs to sell].”” COLON replied, “Oh n***a come pay me off [drug proceeds]. I’m about to give
you the whole thing [amount of drugs].” WATTS said, “I’m going to take care of you. I’m
going to give you every n***a got n***a s**t. I got you. Everything . . .” COLON replied, “So
what’s up with you? What’s up for tonight?” WATTS said, “I ain’t doing s**t. ’m chilling.”
COLON replied, “If you didn’t know what it is then why the f**k would you sprinkle it on the
floor. If you didn’t know what it was you would’ ve just took it and threw it in the garbage.”
WATTS said, “Because it [drugs] was in a bag. She know a n***a be what the f**k a n***a be
dealing with [drugs]. She didn’t want one of the clients at the house to see anything like that, or
whatever, whatever. Took the s**t and sprinkled that s**t, or whatever. Man. Alright, Alright
so you did that cause you talking about you trying to save somebody’s life or whatever, you

don’t want them to do this do that. Guess what? I’m going to go to her house and dump out all

18
Case: 1:25-cr-00204-BYP Doc #:1 Filed: 05/01/25 19 of 61. PagelD #: 19

the sugar and salt and everything in that bitch.” COLON replied, “No, no, no, you gotta be like,
you gotta give me $200 for that. I don’t give a f**k.”

52. May 29, 2024, at approximately 3:26 p.m., COLON had a conversation with
RONDON. COLON said, “Hey.” RONDON replied, “Yeah.” COLON said, “Bring me that, the
AR [automatic rifle] down real quick.” RONDON replied, “Yep.”

53. On May 29, 2024, at approximately 10:31 p.m., COLON received an incoming
telephone call from MALUSKY. MALUSKY said, “How are you?” COLON replied, “I’m
good.” MALUSKY said, “My buddy is visiting from lowa. Can I come see you [pick up drugs
to sell]?” COLON replied, “Yes. You can.” MALUSKY said, “Alright.” COLON replied, “On
Woodbridge.” MALUSKY said, “Woodbridge. Ok. I have to... I’mon... Pm at Lorain and
117", so I'll be about ten minutes.” COLON replied, “. . ”” MALUSKY said, “Two [amount of
drugs].” COLON replied, “Okay.” MALUSKY said, “Okay. Thank you.” COLON replied,
“Which ones though?” MALUSKY said, “Just . . . reggie is fine.”

54. On May 29, 2024, at approximately 11:29 p.m., COLON received an incoming
telephone call from BYRD. COLON said, “Around the corner. I can drop you my location.”
BYRD replied, “Oh. Alright. Cool. I’m going to come bring you five hundred [drug money].” At
approximately 11:46 p.m., they agree to meet at Gas & Go.

55. On May 30, 2024, at approximately 12:57 p.m., MARSH went to COLON’s
residence, 3**0 West 41° Street, Cleveland, Ohio, and entered the residence.

56. On May 30, 2024, at approximately 1:03 p.m., JENKINS exited COLON’s
residence with MARSH and stood on the porch.

57. COLON entered his vehicle and drove to 4**4 Archwood Avenue, Cleveland,

Ohio, and entered the residence for a short period of time. COLON exited the same residence,

19
Case: 1:25-cr-00204-BYP Doc #:1 Filed: 05/01/25 20 of 61. PagelD #: 20

entered his vehicle and drove back to 3**0 West 41° Street, Cleveland, Ohio, where he met with
MARSH.

58. MARSH than left COLON’s residence and entered a vehicle in the passenger side
and the vehicle departed.

59. On May 30, 2024, at approximately 1:44 p.m., MARSH called COLON and said,
“Yo, this s**t [drugs] was just almost all.” COLON replied, “What you mean?” MARSH said,
“Oh my God, bro. I think you need to be watching, bro. We just got pulled over by two state
troopers.” COLON replied, “What?” MARSH said, “I swear to God bro, I swear to God, you’re
lucky I’m a f*****g genius, my n***a. That’s all I’m going to say, dawg. I wanna throw up. I
didn’t swallow nothing [drugs], but .. “? COLON replied, “Ok, first of all, where was you all
at?” MARSH said, “We had just crossed the public library. What is that on, State & Pearl, bro?
We had just crossed the public library on State & Pearl coming up towards our house.” COLON
replied, “And where was they at?” MARSH said, “I don’t even know, where the f**k was they
at Carmen? Where was they at, I didn’t even see them n****s, bro.” Unknown female in
background stated, “I didn’t see them either, bro.” MARSH said, “I don’t even know where they
were at dawg, they just pulled up out of nowhere, two SUVs with a K-9 unit, dawg. Thankfully
the dumb a** n***a, See, I know my rights. The n***a kept asking me to get out the car, and I
was like you first have to tell me why I’m getting out of the car. Am I being detained? I know
my rights. So, he asked me again, and I was like listen bro, we’re not gonna back and forth with
this, I was like, tell me why I’m getting out of the car and I’! get out of the car. I lifted up my
hoodie to show him I had no weapons on me. I said I’m going to lift up my hoodie to let you
know that I’m not being aggressive cause I’ve got weapons on me. I’m letting you know this,

because I know my rights. He told me, he said, he didn’t really tell me, right. So, I was like,

20
Case: 1:25-cr-00204-BYP Doc #:1 Filed: 05/01/25 21 of 61. PagelD #: 21

f**k it, I can tell I was about to get ripped out of the car, so, from the very beginning when we
got, we got, when we got pulled over, you know, I parked the s**t bro. To the deepest, darkest
parts [hid drugs in his anus] you could think of.” COLON replied, “Yeah.” MARSH said, “I
know they’re not legally allowed to search me. I’m not the one being stopped. They don’t have
no reasonable articulable suspicion for me committing a crime, for them to search me. They
can’t even legally ask me for my ID.” COLON replied, “Right.” MARSH said, “So, I gave
them my ID and I was like listen, I get out of the car, I was like, ‘I’m telling you right now, I
consent to no searches. I consent to no searches, and I’m only giving you my ID underneath the,
I’m being put underneath immense pressure and being threatened to be taken to jail. That’s the
only reason why I’m giving you my ID, I’m letting that be known right now.’ But these n****s’
body cameras weren’t even on, dawg. I know when a body cameras on. This n****’s body
camera was not on.” COLON replied, “It should blink red when it’s on.” MARSH said, “Yeah,
exactly, that s**t, those n****s, so, so basically, one cop took Carmen, and the other cop . . .”
COLON replied, “I’m about to pull up, don’t even call me.”

60... On May 31, 2024, starting at approximately 8:08 p.m., COLON and MASTERS
engaged in a text message conversation. MASTERS texted, “You got a eight [amount of
drugs].” COLON responded, “U got 125 [cost of drugs].” MASTERS responded, “125?”
COLON texted, “Gas station.”

61. On June 1, 2024, at approximately 7:55 p.m., COLON received an incoming
telephone call from RONDON. RONDON said, “So, he said [CALVERT] he has 180. So, I’m
waiting for, for 3 .. . 5 and whatever he owes you on the bill.” COLON replied, “Ok. His a**
for the 180, 25, 30. 55 on the bill. 125 a ballie [eight-ball of drugs]. Give him a ballie of that

b***#***t and I'll give you a ballie when I get there.” RONDON said, “What ballie of the

21
Case: 1:25-cr-00204-BYP Doc #:1 Filed: 05/01/25 22 of 61. PagelD #: 22

b*###S2 COLON replied, “Don’t you have some b******t over there?” RONDON said,
“No, I ain’t got no b******t over here.” COLON replied, “N***a all your s**t is b¥*****t, get
that n***a a ball of that and I’ll get you when I get there.”

62. On June 2, 2024, at approximately 7:11 p.m., COLON received an incoming
telephone call from PAYNE. COLON said, “Yo.” PAYNE replied, “Can I come through [pick
up drugs]?” COLON said, “Yeah, meet you on Woodridge.” PAYNE replied, “Alright, ?m
actually on...”

63.  OnJune 4, 2024, at approximately 2:06 p.m., COLON and MALUSKY had a
telephone conversation. COLON said, "What’s going on with you buddy?" MALUSKY replied,
"About to go jet skiing." COLON said, "Oh, nice." MALUSKY replied, "Yes, so I have
everything for you [drug money] and, um, I actually need three more [amount of drugs] if you
don’t mind are you around." COLON said, "Yeah, I’m around, a I’! meet you on Woodbridge
[drug meet] how long." MALUSKY replied, "A probably like 10 minutes, I’m right off 90 right
now, so Woodbridge ok I'll see you there."

64. On June 4, 2024, at approximately 2:14 p.m., MALUSKY arrived on Woodbridge
Avenue in Cleveland, Ohio.

65.  OnJune 4, 2024, at approximately 2:22 p.m., COLON had a call with
MALUSKY. COLON said, "Hello." MALUSKY replied, "Hey, um, should I come up to the
house or you just gonna." COLON said, "I’m turning down the street right now." MALUSKY
replied, "Oh, ok I’m parked on the other side from where I’m usually at so.”

66.  OnJune 4, 2024, at approximately 2:25 p.m., COLON and MALUSKY met on

Woodbridge Avenue in Cleveland, Ohio, where MALUSKY received narcotics.

22
Case: 1:25-cr-00204-BYP Doc #:1 Filed: 05/01/25 23 of 61. PagelD #: 23

67. On June 4, 2024, starting at approximately 3:13 p.m., COLON and WATTS
engaged in a text message conversation. COLON texted, “What u hit for me [drug proceeds].”
COLON sent another, “Got.” At approximately 4:20 p.m., WATTS texted, “Jus woke up I Got
you gumme a sec.” At approximately 11:19 p.m., WATTS texted, “I sent yu $200.00 on Cash
app [drug money]. Get you more soon. Wyd?” COLON texted, “800.”

68. On June 4, 2024, at approximately 4:36 p.m., COLON made an outgoing
telephone call to RONDON. COLON said, “Bring me that down real-quick.” RONDON
replied, “The what?” COLON said, “The acetone [solvent utilized in manufacturing drugs].”

69. On June 5, 2024, at approximately 2:09 p.m., COLON received an incoming
telephone call from A.A. A.A. said, “Where you at? Yours?” COLON replied, “Uh, nah, uh, ah,
nuttin’ over here. Hell no.” A.A. said, “uh ummm.” COLON replied, “Follow me to Gas & Go,
at the corner of my street on Fulton.” A.A. said, “What?” COLON replied, “Across the street
from the BP on Fulton.” A.A. said, “Oh, you want me to meet you at the BP?” COLON replied,
“No. It’s too hot over there [law enforcement presence].” A.A. said, “Oh, where you wanna
meet [drug meet]?” COLON replied, “Across the street.” A.A. said, “Across the street from
where?” COLON said, “Across the street from the BP, n***a!” A.A. said, “Ohhh Aight! Same
as last time [previous drug deal].””, COLON replied, “Aight.” A.A. said, “I'll be there in 2
seconds, I’m on Storer.” COLON replied, “Ah well s**t give me a few. I’ll be there in like 3
minutes, 4 minutes.” A.A. said, “Aight.”

70. OnJune 5, 2024, at approximately 3:50 p.m., COLON received an incoming
telephone call from CALVERT. COLON said, “Yo.” CALVERT replied, “Wassup Brother?”
COLON said, “what’s happenin’?” CALVERT replied, “Can I come holla at ya for the same

thing [amount of drugs] as yesterday?” COLON said, “How long you gone be?” CALVERT

23
Case: 1:25-cr-00204-BYP Doc #:1 Filed: 05/01/25 24 of 61. PagelD #: 24

replied, “Yeah, I’m ah I’m comin from f***in Elyria right now.” COLON said, “Aight, call me
when you're close.”

71. On June 5, 2024, at approximately 4:18 p.m., COLON received an incoming
telephone call from CALVERT. COLON said, “Yo.” CALVERT replied, “What’s up, man, ’m
like two minutes away from the gas station . . .” COLON said, “Alright, go to the gas station Gas
& Go...” CALVERT replied, “Okay, that’s what’s up.”

72. On June 5, 2024, at approximately 4:34 p.m., RONDON exited 4**4 Archwood
Avenue, Cleveland, Ohio, and walked to a gas station where RONDON entered CALVERT’s
vehicle and distributed narcotics.

73.  On/June 5, 2024, at approximately 7:17 p.m., COLON made an outgoing
telephone call to CRESPO. CRESPO said, “He would hit me late night on some weird s**t, He
be like, ‘You be home,’ and I’m like, ‘What the f**k is you talking about.’ Why he hitting me
late, and he’ll be like, ‘My friend wants to know if he any party, um, she wants a G [purchase
gram of drugs],’ I’m like, yeah he slipped up and said he didn’t like the product one day [the
drugs CRESPO sold him], but he was like, ‘No she said that he didn’t like, all peoples said they
didn’t like it [the drugs].’”

74. On/June 5, 2024, at approximately 7:23 p.m., CRESPO called COLON. CRESPO
said, “Okay, umm, I was gonna say you, um, f**k cause my peoples [drug supplier] about to
come in 10 minutes. So they drop me off some beans [drug pills] on a play for, uhh, ’m down
for some beans [drug pills].” COLON replied, “How many beans?” CRESPO said, “Umm, I
don’t know he already on his [supplier] way.” COLON said, “Tell him to forget it. I still have
some beans [drug pills].” CRESPO said, “I know but . . . this is that one trick that this is the one

called I called earlier.’ COLON replied, “Why pay for them b****es .. .” CRESPO said, “I

24
Case: 1:25-cr-00204-BYP Doc #:1 Filed: 05/01/25 25 of 61. PagelD #: 25

forgot I already, I already had paid for it. I sent them a hundred for ahh a jar [fronted money for
an amount of drugs].””, COLON replied, “Okay.” CRESPO said, “Yeah, I already did the
transaction .. . I totally forgot about that thing.” COLON replied, “Yeah, I mean there ain’t no
sense in leaving if we gotta f***in come right back in a few minutes.” COLON said, “You know
I be trickin’ why don’t you be sending them hoes my way?” CRESPO replied, “Cause I’m not
gettin paid.” COLON said, “Haha you know I'll slide you something if you bring the hoes my
way [pay for sex].”” CRESPO replied, “Because you weird.” COLON said, “No, b***h, you just
love me you don’t want me to f**k with anybody else.” CRESPO replied, “Once you smash one
of friends, the neighbor be like f**k you b***h and them n***as, like that’s weird as f**k. Now
if it was another trick and another customer I don’t give a f**k.” COLON said, “B***h ain’t
letting me go to nobody.” CRESPO replied, “I might not go to work, I’m gonna just get a b***h
and, umm, and try to make her some money today. Me well not her but me you know [pimp out
a female for money].”

75. On June 5, 2024, at approximately 9:14 p.m., COLON received an incoming
telephone call from GREENLEE. GREENLEE placed an unknown female (UF) on the phone to
setup a drug purchase. GREENLEE said, “That n***a a he want a pull up on you [meet for
drugs].” UF talking in the background. COLON replied, “Listen here, I don’t got no ah.”
GREENLEE said, “You ain’t got no situation [drugs].” COLON replied, “What the f**k uhhh
..., what they call that uh?” COLON replied, “I don’t gota... I don’t got a straw house. What
you want?” GREENLEE put an unknown female on the line who stated, “My boy Josh wanted
some [drugs].” COLON replied, “What you want a 20 or something [amount of drugs]?” UF
said, “Naw, hell no, a gram or something [amount of drugs].” COLON replied, “Oh, ok. Here I

come, here I come, here I come, eh eh eh.” GREENLEE said, “You coming up . . . come pop

25
Case: 1:25-cr-00204-BYP Doc #:1 Filed: 05/01/25 26 of 61. PagelD #: 26

up?” COLON replied, “Yeah, I’m going over there, where you at.” GREENLEE said, “Alright.
I’m at Tony’s Market right now.” COLON replied, “You a drunk?” GREENLEE said, “What
you want me to do pull up on you, or you coming over there [meetup for drugs]?” COLON
replied, “Where the f**k you all going?” GREENLEE said, “Ugly [Ugly Broad bar on
Denison].” COLON replied, “S**t, how’s that two ugly n****s going to the Ugly Broad. I'll be
over there, I’Il meet you all over there.” GREENLEE said, “On my way.”

76. On June 6, 2024, at approximately 3:03 p.m., COLON received an incoming text
message from CALVERT. CALVERT texted, “I’ma been that way like 4:00-4:30 is that cool
half basketball [basketball emoji — 1.75 grams of cocaine].”

77. On June 6, 2024, at approximately 4:36 p.m., COLON received an incoming
telephone call from CALVERT. CALVERT said, “Hey I am, like, 13, umm, I need the whole
basketball [1/8 ounce of cocaine].” COLON replied, “Alright.” CALVERT said, “Saturday I get
paid I will have some money for you too on the, ahh, credit side you know what I am saying?”
COLON replied, “Yep.” CALVERT said, “Alright that’s what’s up.” COLON said, “Gas
station.” CALVERT replied, “Call you when I am pulling up.”

78. On June 6, 2024, at approximately 4:38 p.m., COLON received an incoming text
message from CALVERT. CALVERT texted, “Can I get the chunky chocolate chip cookies
[rocked cocaine] please. I’m taking this to someone new I wanna try n het a customer for us.”

79. On June 6, 2024, at approximately 4:47 p.m., COLON received an incoming
telephone call from CALVERT. COLON said, “Hello?” CALVERT replied, “I am pulling up.”
COLON said, “Alright.”

80. On June 6, 2024, at approximately 4:51 p.m., COLON received an incoming

telephone call from CALVERT. COLON said, “Yo .. . Say what?” CALVERT replied, “On the

26
Case: 1:25-cr-00204-BYP Doc #:1 Filed: 05/01/25 27 of 61. PagelD #: 27

street.” COLON said, “Where they at, I don’t see them.” CALVERT replied, “They right next to
you on the road.” COLON said, “Huhh?” ,CALVERT replied, “They right next to you on the
road.”

81. On June 6, 2024, at approximately 11:16 p.m., COLON received an incoming
telephone call from BYRD. COLON said, “T know you always call me but it’s time for me to do
my thing you know what I’m saying.” BYRD replied, “You're saying it’s time for me to come
over and drop a deposit off [drug money].” COLON said, “For everybody, yeah.” BYRD
replied, “I know baby we be doing this s**t for a long time you know how the game go, we
married to this s**t [drug dealing]. Right now I’m working on putting together the last little
ends right now I’m downtown working so I’ll see you in the morning or maybe tonight you
never know but it’s going to be real soon.”

82. On June 7, 2024, at approximately 12:53 p.m., COLON made an outgoing
telephone call to CRESPO. CRESPO said, “What?” COLON replied, “Get up fool.” CRESPO
said, “What?” COLON replied, “Don’t f**king what me n***a.” CRESPO said, “What do you
want?” COLON replied, “I’m trying to see you, what the f**k do you think I’m calling for?”
CRESPO said, “Hmm.” COLON replied, “So you ready or what?” CRESPO said, “No, I’m not
ready.” COLON replied, “Well, when you, you going to be ready.” CRESPO said, “Not sure.”
COLON replied, “Text me when you’re done, bye.”

83. On June 7, 2024, at approximately 1:08 p.m., COLON and RONDON met
MASTERS on Woodbridge Avenue in Cleveland, Ohio, to distribute narcotics.

84. On June 7, 2024, at approximately 3:53 p.m., CALVERT texted COLON,
“Waiting on this dude [drug customer] to bring me the money [drug proceeds] for that. Ima be

like another hour or so. I’ll call you the minute I leave here.”

27
Case: 1:25-cr-00204-BYP Doc #:1 Filed: 05/01/25 28 of 61. PagelD #: 28

85. On June 7, 2024, at approximately 4:08 p.m., COLON received a telephone call
from CRESPO. COLON received an incoming telephone call from CRESPO. COLON said,
“Hello.” CRESPO replied, “Yeah he talking about he talking crazy in my messages, and I, like, I
told him I’m not about, you already know how I play with it when it comes to s**t like this. He
talking about how I got to move out he shutting the electric off and everything. Nothing in this
s**t in this b**ch is fixed at all. I just told him I got off the phone with one of my lawyers. This
n***a is buying cocaine off me [CRESPO distributes cocaine] is he serious?” COLON said,
“Oh, wow.” CRESPO replied, “I be telling him. If you, if you, I’m not paying for .. . you’re
getting your money today right. Then you keep talking crazy and you’re . .. on my door. You
don’t even leave a message. What the f**k type of landlord do this s**t. I’m like, I'll tell him
you call me you knock on my door for anything else n***a if you really want to get technical.
He know what I’m talking about and you don’t be buying s**t [drugs] off of me. Or he be
asking me .. .with your peoples, and I got get like this cause he talking about he got lawyers. I
got lawyers I got... buying s**t off of me.” COLON said, “Yeah.” CRESPO replied, “Why
wouldn’t he just come knock on the door for your f**king money. I tell him I got Apple Pay.
This n***a talking about he ain’t got an iPhone. Well, he better figure it out. Until then you’re
gonna have to wait until my credit card come in the mail which is my bank card you stupid bitch.
So, I can’t send over nothing until my bank card comes in. I can’t get your cash out so either
you’re gonna have to... . away or what the f**k we gonna really do I’m gonna make sure I’m
staying in this b**ch, And I’m gonna have to take you to court, and I would. How would they,
like a landlord who is selling out of his household. You’re gonna get a fat chilly ... I’m really go
the f**k off for him.” COLON said, “Yeah f**k him. I mean I know him I don’t deal with him

like that. I barely even talk to him.” CRESPO replied, “But he texting me all last night 4, not

28
Case: 1:25-cr-00204-BYP Doc #:1 Filed: 05/01/25 29 of 61. PagelD #: 29

even 4, like, 1 o’clock talking about are you on west 46", Why is my landlord nonstop texting
me every f**king day. Wanna know if my light is on... yes... cause it’s next to my cameras.”
COLON said, “Oh s**t.”

86. On June 7, 2024, at approximately 5:04 p.m., COLON received an incoming
telephone call from BYRD. BYRD said, “I was at my mom’s house doing laundry, but I am
going to give you the difference of that one [drug proceeds] tonight.” COLON replied, “Okay.”
BYRD said, “So I have an evil one in there knocking all the s**t down with a first assist so it’s
all about to be all on you now so I’m able to get my debt paid back more swiftly.” COLON
replied, “Okay.” BYRD said, “But let you know what’s going on but I am on my way now to
house, I got 700 [drug money] on me now.”

87. On June 7, 2024, at approximately 5:20 p.m., BYRD called COLON and said,
“T’m outside. I’m just chilling a little bit. You want me to pull into the driveway?” COLON
replied, “Alright here I come.”

88. On June 7, 2024, at approximately 10:14 p.m., BYRD called COLON and said,
“I’m going to slide through there and get the rest of that real-quick the other three [amount of
drugs].”

89. On June 8, 2024, at approximately 11:27 p.m., COLON sent a text message to
RIOS. COLON texted, “Hiw much money I got on ur cash app since u being weird.”

90. On June 9, 2024, at approximately 4:08 p.m., COLON received an incoming
telephone call from RIOS. COLON said, “Hello.” RIOS replied, “[Spanish] Ok, you know in the
freezer in the same place I put my popsicle [code for drugs] there, so can you get it out and put it
...’ COLON said, “We know where it’s at now so.” RIOS replied, “Ok, so, ah can you take it

out?” COLON said, “No we’ll leave it right there.” RIOS replied, “Oh ok. Alright. Thank you.”

29
Case: 1:25-cr-00204-BYP Doc #: 1 Filed: 05/01/25 30 of 61. PagelD #: 30

91. On June 9, 2024, at approximately 10:56 p.m., COLON made an outgoing
telephone call to RIOS. RIOS said, “eeho.” COLON replied, “Hello.” RIOS said, “Yea.”
COLON replied, “Hey, sell that n***a a f***in twenty [amount of drugs] man that n***a is
blowing up my God damn phone.” RIOS said, “All right . . no tengo [Spanish] I don’t have any.
It’s over at that female’s house [drugs stored elsewhere].” COLON replied, “n***a f***in’ just
rockin’ my phone rockin’ my phone God damn n***a.” RIOS said, “No because uh. . .”
COLON replied, “He clocked out he just over there... I gave that n***a f***in’ over two grams
[amount of drugs] and he just blew em all and he is clocking now. He just callin’ my phone,
callin’ my phone, callin’ my phone, callin’ my phone, callin’ my phone, text me, text me, like
goddamn, n***a.” RIOS said, “I know [Spanish], but, I have that at this girl’s house [drugs
stored elsewhere].” COLON replied, “. . . where the f**k did I put it I don’t even know where
the f**k I put it.” RIOS said, “You know what I’m not looking for it [drugs].”

92. OnJune 10, 2024, at approximately 3:05 p.m., COLON received an incoming
telephone call from RIOS. RIOS said, “Where you at?” COLON replied, “Alicia [?]” RIOS said,
“Ok, um, no, because, um, one ah, some guy parked there, you know he-- [Spanish] and the
police came over and it seems like they were watching and now they are there, waiting in the
car.” COLON replied, “Where at?” RIOS said, “Right here in front of the house. [Spanish] Be
careful.”

93. On June 10, 2024, at approximately 6:33 p.m., COLON received a text message
from PAYNE. PAYNE texted, “Can I come thru.” At approximately 6:43 p.m., COLON texted,
“Woodbridge.”

94, On June 11, 2024, at approximately 4:48 p.m., COLON sent a text a message to

WATTS. COLON texted, “Cash app I gotta do s**t.”

30
Case: 1:25-cr-00204-BYP Doc #:1 Filed: 05/01/25 31 of 61. PagelD #: 31

95.  On/June 12, 2024, at approximately 5:04 p.m., CALVERT arrived at COLON’s
residence and entered the residence and received narcotics.

96.  OnJune 12, 2024, at approximately 6:34 p.m., COLON received an incoming
telephone call from MARSH. MARSH said, “What do I owe you is it like 6 [drug money]?”
COLON replied, “850 [drug debt].” MARSH said, “I heard you I’m sending you fout right
now.” COLON replied, “Alright.”

97. On June 13, 2024, at approximately 1:34 p.m., COLON received an incoming
telephone call from BYRD. BYRD said, “Waiting on this money to hit my account, it should be
here either tonight or in the morning. How much I owe you [drug money]? ... or I’m at thirty?”
COLON replied, “I’1l tell you right now, hold on. Ummmmm, uhhhbhh, 3660.” BYRD said,
“3660... Alright I got all of it [drug money]. I'll have it all tomorrow.”

98. On June 16, 2024, at approximately 10:03 p.m., COLON received an incoming
telephone call from BYRD. COLON said, “Yo.” BYRD, replied, “Big daddy what’s going?”
COLON said, “Nothing just sitting in this car just thinking about what the f**k I wanna do.”
BYRD replied, “N***a, do whatever the f**k you wanna do, n***a, it’s your f**king holiday
baby, celebrate yourself n***a, you take of . . you take care of me. N***a go out and take care
of yourself, baby, treat yourself.” COLON said, “I don’t know where there is to go tonight.”
BYRD replied, “Hey you ain’t got go nowhere, n***a, you just bought a boat. Go basking
enjoying of being a good father in the middle of the ocean, I mean lake, with the bottle I gave
you. Go get on your boat and chill.” COLON said, “I’m gonna do that tomorrow.” BYRD
replied, “Alright well I’m gonna pull up on you and give you a hug. But I don’t want to come to
mommy house [RIOS’s residence]. Mommy don’t want me to come to her house, and I’m still

some way about that cause I’m such a great m*********er, And you keep telling me you can’t

31
Case: 1:25-cr-00204-BYP Doc #:1 Filed: 05/01/25 32 of 61. PagelD #: 32

be come here you can’t come up here. I don’t wanna come to your house. When somebody is
telling me you can’t come to your house, I’ve never been told I can’t come to somebody’s house
before. I’m a power... player. So I don’t want to come to your house at all. It’s so insulting,
I’m hurt by that. I’m so disrespected by that s**t. Like, mommy, I was something with you
before everybody, you was my m******#***er [drug supplier] and I can’t come to your house
and give your son some love .. . no I don’t wanna go to her house. I just passed you. I’m about
to be at your house real quick.” COLON said, “Alright I’m about to pull up.” BYRD replied,
“Alright come on.”

99, On June 16, 2024, at approximately 11:20 p.m., COLON received an incoming
telephone call from A.A. A.A. asked if he can “come through [drug meet].” COLON said he
was at the emergency room and will call A.A. back.

100. On June 17, 2024, at approximately 12:01 a.m., COLON received an incoming
telephone call from DOLAN. DOLAN told COLON that A.V., a person known to the Grand
Jury, wanted to talk to him. A.V. came onto the line and said, “Uhhh, I don’t want to talk too
much but you got anything [drugs]?” COLON replied, “You know what actually, go in the
freezer in that little .. . you know where you lift that thing up.” A.V. said, “Yeah.” COLON
replied, “You know that little, that box?” A.V. said, “Yeah.” COLON replied, “Yeah, stick your
hand in there, there’s something [drugs] in there.” A.V. said, “Alright cool, uhhh . . . I forget
what I was gonna say ... I’ll just see you when you get here.”

101. On June 17, 2024, at approximately 3:26 p.m., COLON received an incoming

telephone call from RONDON. RONDON said, “You gonna bring me another one later
(drugs]?” COLON replied, “Yeah. Yeah, yeah, yeah, yeah.” RONDON said, “You're done.”

COLON replied, “Huh?” RONDON said, “When you’re done.” COLON replied, “Yeah. You

32
Case: 1:25-cr-00204-BYP Doc #:1 Filed: 05/01/25 33 of 61. PagelD #: 33

might gonna have to wait till I, till I get my next pack [replenish his supply].” RONDON said,
“Yeah.” COLON said, “You good? You got some [drugs] over there?” RONDON replied,
“Yeah I got like, I got, I got a half [amount of drugs] left.”

102. On June 18, 2024, at approximately 3:13 p.m., COLON received an incoming text
message from A.A. A.A. texted, “Yooo you around [available for drug meet].”

103. On June 18, 2024, at approximately 3:28 p.m., COLON received an incoming
telephone call from MARSH. COLON said, “Yo.” MARSH replied, “Yo, I got another 400 for
you in cash [drug proceeds], but I’m at the Autozone.and s**t. I mean you’re still probably a
little busy and s**t.” COLON said, “Alright, I'll call you when I’m done.” MARSH replied,
“You got that title for the bike or you...” COLON said, “No, not yet. I still got to do what I
gotta do.” MARSH replied, “Alright, bet. Just let me know.”

104. On June 18, 2024, at approximately 6:41 p.m., CALVERT arrived at COLON’s
residence and received narcotics.

105. On June 19, 2024, at approximately 7:45 p.m., COLON called DOLAN. COLON
said, “You’re not in the shower, right?” DOLAN replied, “Huh?” COLON said, “You’re not in
the shower are you?” DOLAN replied, “I just showered, why?” COLON said, “Okay, cause I got
my, I’m on my way back that way I’m on 98. But, my dude’s [drug buyer] outside, and I got
something [drugs] on top of the refrigerator, in the back of the refrigerator by the stove and you
seen me put it there yesterday. I got.” DOLAN replied, “No, I didn’t see it. I, I... you. How
much [drugs] do you want me to give him?” COLON said, “Just give him that.” DOLAN
replied, “Whole thing?” COLON said, “Yeah, f**k it, I don’t even know what the f**k is there.”
DOLAN replied, “Hold on.” COLON said, “I’m on the freeway, headed back that way.”

DOLAN replied, “... Okay, where’s it at?” COLON said, “On top the refrigerator on the back

33
Case: 1:25-cr-00204-BYP Doc #:1 Filed: 05/01/25 34 of 61. PagelD #: 34

part by where the stove is. on the backside.” DOLAN replied, “Back of refrigerator, back part.”
COLON said, “There’s a bag of weed up there, it [drugs] should be next to the weed.” DOLAN
replied, “Think ... what the... Facetime me.”

106. On June 20, 2024, at approximately 12:17 p.m., COLON received an incoming
telephone call from BYRD. BYRD said, “Uh, where you at, the house?” COLON replied,
“Nah, not yet.” BYRD said, “How long before you get home?” COLON replied, “Like thirty.”
BYRD said, “Alright, I got eight [drug money] for, I need to pick up one [an amount of drugs]
real-quick.”

107. On June 20, 2024, at approximately 3:45 p.m., COLON made an outgoing
telephone call to POMALES. COLON said, “I said where you at?” POMALES replied, “We’re
on the freeway, on my way back, me and TY and Norm came back from Brunswick I had to go
pay the n***a so I could get my boat together.” COLON said, “Ah s**t...” POMALES replied,
“Where you at?” COLON said, “S**t I was just at the shop, but nobody there.” POMALES
replied, “N***a go back there now, n***a, I go shoot out there and get that s**t, meet me back
there in 20 minutes.” COLON said, “Alright.”

108. On June 20, 2024, at approximately 4:38 p.m., COLON received an incoming
telephone call from POMALES. COLON said, “Yeah” POMALEs replied, “Where you at?”
COLON said, “I just left your shop, just now.” POMALES replied, “We pulled up right here.
We by GAS USA.” COLON said, “You by GAS USA right now?” POMALES replied, “Yup.”
COLON said, “I’m right around the corner be right back.” POMALES replied, “Hurry up.”

109. On June 20, 2024, at approximately 5:20 p.m., GREENLEE and COLON met and
conducted a drug deal with CALVERT. During the same day, at approximately 5:51 p.m.,

COLON and GREENLEE conducted a drug deal with an unknown drug customer.

34
Case: 1:25-cr-00204-BYP Doc #:1 Filed: 05/01/25 35 of 61. PagelD #: 35

110. On June 20, 2024, at approximately 5:46 p.m., COLON received an incoming call
from PAYNE. COLON said, “Yo.” PAYNE replied, “Yo, can I come through [pick up drugs]?”
COLON said, “Yeah, what you wanted?” PAYNE replied, “Uh, just one [amount of drugs].
Unless you can float me some [front more drugs] for a couple days.” COLON said, “Ok. I’m on
[unintelligible] bridge.” PAYNE replied, “I’m between jobs, so I'm in catch-up mode.”

111. On June 20, 2024, at approximately 5:59 p.m., COLON received an incoming
telephone call from DOLAN. DOLAN said, “Hello? Where you at?” COLON replied, “Right
here, going to Woodbridge to drop something off [drugs].” DOLAN said, “I got a. . . trying to
grab some [drugs] off me. I gotta get in the house. I think the door is locked.” COLON replied,
“Alright.” DOLAN said, “I’m about to be there. I’m coming from 25th,” COLON replied, “You
might as well m********##n? 90 to Woodbridge.” DOLAN said, “Can you just meet me at the
house?” COLON replied, “Nah, I’m doin’ something - I’m waitin’ on somebody [drug
customer].” DOLAN said, “Alright, um... can you... Woodbridge and 25th? I don’t like that
f**kin’ intersection right through Woodbridge and Fulton. I don’t like going through it.”
COLON replied, “. . . over to there.” DOLAN said, “Huh? I f**kin’ meet you on Woodbridge,
here. Oh, my god.”

112. On June 21, 2024, at approximately 12:00 p.m., COLON made an outgoing
telephone call to RIOS. RIOS said, “Yeah what’s up, you’re the one that’s ringing this
doorbell?” COLON replied, “No that’s some old lady outside. Hey, where you put that bag and
that gun I gave you the other day?” RIOS said. “Huh?” COLON replied, “The other day like two
days ago I gave you the bag and the gun to hold and I told you to put it under my pillow.” RIOS
said, “Well, uh, the bag is inside the freezer and [Spanish] uhm, mine is there too [her drugs]

and, uhm, you know you--well-- I think I -- [Spanish] Oh, it’s in the - in the-- er, the-- kicht-- er,

35
Case: 1:25-cr-00204-BYP Doc #:1 Filed: 05/01/25 36 of 61. PagelD #: 36

in the dining room -- in the kitchen-- in the dining room.” COLON replied, “Alright which one?”
RIOS said, “[Spanish] in the dining room in the on the bottom -- on the, uhm, -- right hand -- It
should be, right there. Is it? Is it?” COLON replied, “No” RIOS said, “OK well I’m gonna.”

113. On June 20, 2024, at approximately 10:55 p.m., COLON received an incoming
telephone call from PULVINO. COLON said, “Yo.” PULVINO replied, “What’s up, G?”
COLON said, “What’s up with it?” PULVINO replied, “Not s**t. You busy?” COLON said,
“Well, I was busy. I ain’t busy no more. Believe me.” PULVINO replied, “Hey, that’s what I
like, bro! I don’t care if you’re on the phone with God, you better click over and see what the
pe I want.” COLON said, “No, that would never, ever happen in like...” PULVINO replied,
“I’m just playin’, I’m just playin’. Hey, so, how, I mean, how fast do I need to get rid of it
[drugs]?” COLON said, “I don’t know. Two weeks.” PULVINO replied, “Damn, n***a, Will
you give me a f**kin’ month? You sent three of ‘em [amount of drugs]. You gotta remember
that everybody out here is gainfully employed, so they gotta be careful and s**t.” COLON said,
“Mace, Mace [Mason]. Give me two minutes. I’m gonna call you right back.” PULVINO
replied, “Alright, you good. Alright, bye.”

114. On June 21, 2024, at approximately 1:25 p.m., COLON received an incoming
telephone call from RIOS. COLON said, “Yeah, did you find my things [guns and drugs]?”
RIOS replied, “Um no I thought you took it.” COLON said, “No how did I take it if 1 gave it to
you? With my [Spanish perico, spanish slang for cocaine].” RIOS replied, “I know [Spanish] but
I put that [cocaine] in the freezer-- and there’s only three.” COLON said, “I told you to put it
under my pillow that’s where I keep everything under my pillow.” RIOS replied, “[Spanish]

Jeez well, I’m here at the kiddie park with Jay Jay so he’s too big.” COLON said, “I'll stop at

36
Case: 1:25-cr-00204-BYP Doc #:1 Filed: 05/01/25 37 of 61. PagelD #: 37

you’re busy and grab another one so.” RIOS replied, “Oh Ok. No, no, no, no, I'll be there.”
COLON replied, “Oh, it’s cool.”

115. On June 21, 2024, at approximately 5:08 p.m., COLON received an incoming
telephone call from BYRD. COLON said, “Yo” BYRD replied, “Poppy, what up baby?”
COLON said, “Ah s**t running around. Hot as a m*********er,” BYRD replied, “Well ’'m
about to get ready to go to a fashion show at Dante’s Inferno and I wanted to swing by with you
and give you the rest of the money I owe you [drug debt] from yesterday.” COLON said, “Ok
well um right now I’m 25" where you seen me yesterday at the shop [POMALES’s shop].”
BYRD replied, “Okay, alright it gonna take me about thirty minutes to get out the house ’m
getting dressed and s**t right now. I’m about to put . . .” COLON said, “Ok, well just call me
when you leave cause I might not be here then.” BYRD replied, “Okay, alright.”

116. On June 21, 2024, at approximately 11:43 p.m., COLON made an outgoing
telephone call to WATTS. WATTS said, “I’m probably gonna leave, probably gonna finish out
what I got goin’ on right now and then I’mma try to grab a little something [drugs]... be
outside with a little seven [amount of drugs] or something.” COLON said, “Uou gonna be
finished when I bring something [drugs] down there?” WATTS replied, “Yeah, yeah, yeah, s**t
something lite from the bank. I see it’s a full moon, I know s**t going to be crackin’.” COLON
said, “Let me hit you up in 20 minutes tho, I got you.”

117. On June 27, 2024, at approximately 3:09 p.m., COLON received an incoming
telephone call from CALVERT. CALVERT said, “S**t can I come holler at you [buy drugs]?”
COLON replied, “You said what?” CALVERT said, “Can I come holler at you?” COLON

replied, “What you wanted [how much drugs]?” CALVERT said, “A half of basketball [1/8 of an

37
Case: 1:25-cr-00204-BYP Doc #:1 Filed: 05/01/25 38 of 61. PagelD #: 38

ounce cocaine].” COLON replied, “you gotta call . . . call Joel TRONDON].” CALVERT said,
“Call Joel [RONDON]?” COLON replied, “Yep.”

118. On June 28, 2024, at approximately 12:15 p.m., COLON made an outgoing
telephone call to BELL. BELL said, “What up?” COLON replied, “My a** was in bed.” BELL
said, “Probably.” COLON replied, “What you wanted [how much drugs]?” BELL said, “Umm,
swing by, probably grab, probably grab a % [half an ounce].” COLON replied, “Alright, got it
tight here [has drugs on hand]. Alright, how long you gonna be?” BELL said, “Umm, I can
come down, be like 10-15 minutes.” COLON replied, “Ok.” BELL said, “Cool, alright, bye.”

119. On June 28, 2024, at approximately 12:29 p.m., BELL met with COLON at 3**0
West 41° Street, Cleveland, Ohio, to receive narcotics from COLON.

120. On June 28, 2024, at approximately 1:06 p.m., COLON made an outgoing
telephone to POMALES. POMALES instructed COLON on how to gain access to his shop.
POMALES said, “Go over there and tell them, uh, ask for Harry or Kev, like Lee said I need to
get a thing, just call me when you get over there.” COLON replied, “I’m about to be there right
now.”

121. On June 28, 2024, at approximately 3:18 p.m., COLON received an incoming
telephone call from DOLAN. COLON said, “Yeah.” DOLAN replied, “Hello, where you at
dude?” COLON said, “On my way, what why?” DOLAN replied, “Because I just, I texted you a
long time ago, I called you and you never answered dude, my grandma needs some s**t [drugs]
and f*****g Kayla needs some s**t [drugs].” COLON said, “Oh, oh I’m on my way right now.”
DOLAN replied, “Well do me a favor and bag them [drugs] up separately, I’m at Subway now.”

122. On June 28, 2024, at approximately 3:31 p.m., COLON received an incoming call

from DOLAN. COLON said, "I just got to my mom’s.". DOLAN replied, "Ok, I was just seeing

38
Case: 1:25-cr-00204-BYP Doc #:1 Filed: 05/01/25 39 of 61. PagelD #: 39

how far you were, cause we’re right here and I gotta take this [drugs] to my grandma before."
COLON said, "Who’s there?” DOLAN replied, "F*****g, f*****g, f*****o JT and Taylor just
pulled up to f*****g my house waiting on me dude [for drugs] and f**k my grandma’s like
trying to rush me, dude." COLON said, "Well I just got here right now, I’m wrapping this s**t
[drugs] right now." DOLAN replied, "Alright, make sure you bag them [drugs] separately."
COLON said, "I’m not about to bag up seven grams [amount of drugs] by itself, you’re gonna be
waiting another twelve f*****g minutes.” DOLAN replied, "It’s just two of them [drugs], it’s
two.” COLON said, "Oh ok." DOLAN replied, "Alright, thanks."

123. On June 28, 2024, at approximately 5:34 p.m., COLON received an incoming text
message from A.A. A.A. texted, “Yo spot me to Monday [front drugs].”

124. On June 28, 2024, at approximately 9:26 p.m., COLON received an incoming
telephone call from DOLAN. COLON said, “Yo.” DOLAN replied, “Um, can I grab a quarter
[amount of drugs] off you or no?” COLON said, “Yep.” COLON said, “I’m at my mom’s
[RIOS].” DOLAN replied, “Alright, I’m about to come now [pick up drugs].”

125. On July 1, 2024, at approximately 5:33 p.m., COLON made an outgoing
telephone call to ANTHONY. COLON said, “I got this n***a here with me, he owe me money
[drug proceeds] says he’s waiting on you.” ANTHONY replied, “Why didn’t he tell you the story
that happened?” COLON said, “What the f**k happened?” ANTHONY replied, “He didn’t tell
you the story?” COLON said, “He gave you something [drugs], then you f***ed it up .. . he
fixed it for you then you f***ed it up.” ANTHONY replied, “No he f***ed something up.”
COLON said, “What did he f**k up?” ANTHONY replied, “T’m not really sure. everyone I sold
it [drugs] to said something about it, like it [drugs] melted easy, it was oily.” COLON said,

“Because it’s humid, if that s**t [drugs] will melt if it’s in your car”” ANTHONY replied,

39
Case: 1:25-cr-00204-BYP Doc #:1 Filed: 05/01/25 40 of 61. PagelD #: 40

“Everything was fine cause it [drugs] was in the house and it was still doing it.” COLON said,
“How much did you sell of it [drugs]? How much have you got of it?” ANTHONY replied,
“Nothing.” COLON said, “So where’s it [drugs] at?” ANTHONY replied, “It [drugs] would
literally melt.” COLON said, “So you didn’t sell none [drugs]? You ain’t got none?” ANTHONY
replied, “I was embarrassed. I went to him [RONDON] and told him the story.” COLON said,
“Where is at?” ANTHONY replied, “If you took it out it [drugs] would literally melt on the
table.” COLON said, “Where’s the bag with the melted s**t [drugs]? Somebody gotta pay me
my money [drug proceeds].” ANTHONY replied, “It’s not a bag.” COLON said, “So this s**t
[drugs] just melted into thin air? So this is the one I got, I gave that s**t to Joel [RONDON], he
got that from me, so if his s**t melted all of my s**t [drugs] would have melted.” ANTHONY
replied, “So what was that altered with [cutting agent] then is the only conclusion I can come to.
Slim [WATTS] done seen it, Flaco seen it, Carlos and Habib all seen it . . . then people I sold it
[drugs] to, what the f**k is that s**t when they try it. Where did you get that from they played
you dirty [gave bad drugs]?” COLON said, “Somebody got to get me my money.” ANTHONY
replied, “What the f**k is going on here, he think I’m stupid or he mad at me?” COLON said,
“yeah, that n***a owes me money [RONDON owes COLON drug proceeds]. I’m waiting over
there and he [RONDON] says Sydney [ANTHONY] keeps f***ing up the package [drugs].
ANTHONY replied, “He gave me 20 [grams of drugs] to replace the other bag and it literally
weighed 14.74 [grams] in the bag so that mean there’s only 13, so I said where’s the r of it, and
he said I’ll give the other seven [7 grams] and that was last week.” COLON said, “So how much
did you take him back?” ANTHONY replied, “12 I believe.” COLON said, “So the thing is . . .”
ANTHONY replied, “He was going to give me 20 to replace, I didn’t even ask for that which

tells me something was wrong and he should be fixing it.” COLON said, “He [RONDON] told

40
Case: 1:25-cr-00204-BYP Doc #:1 Filed: 05/01/25 41 of 61. PagelD #: 41

me you brought back 10 grams and he gave you 10 grams [of drugs] and you asked where’s the
rest of it? What do you mean where’s the rest of it?” ANTHONY replied, “Are you with him?
COLON said, “No, I had to pull off and pick up [A.V.].” ANTHONY replied, “Why didn’t he tell
you the story of what happened then he tried to hand me something that I knew wasn’t 20 G’s
[grams].” COLON said, “Hold on, we going to figure this out right now.”

126. On July 1, 2024, at approximately 5:40 p.m., COLON conducted a three-way call
with ANTHONY and added RONDON. ANTHONY said, “Joel, what is going on? Why haven’t
you given the r [drugs] of what you were supposed to give me?” RONDON replied, “I gave you
the first one, I told you to bring it back.” ANTHONY said, “Wait, why did you tell me to bring it
back though?” RONDON replied, “You told me it [drugs] melted, I said what you got left, you
said 10 [grams], you brought it back to me, I told it’s hot, when I gave you the first one I gave
you 20 [grams].” ANTHONY said, “Why did you have to replace it for me though?” RONDON
replied, “I told you to bring it back because I had enough, so when I gave the other one which
was 20 [grams] I didn’t have to give you that, I’m looking out for you.” ANTHONY said, “It was
not 20 remember?” RONDON replied, “I know it was 14 [grams], I know what I gave you.”
ANTHONY said, “In the bag it weighed that, and you told me it was 20 [grams] .. . so you even
told me it was 20.” RONDON replied, “No that’s all I had and I told you I'd take care of the rest
of them, but I replace your first one . . . it’s humid, I told you this.” ANTHONY said, “I do put it
in the fridge.” RONDON replied, “When it gets like that, you’re over talking, some I’m going to
replace it, so I gave you 14 [grams], then when I called you, you’re still going to have to pay
{drug proceeds] for that because that s**t’s coming out of my s**t.” ANTHONY said, “I never
said that I wasn’t though.” RONDON replied, “I gave you 28 [grams] first . . . 1 damn near gave

you and ounce and a half [of drugs] bro.” ANTHONY said, “Joel, no what you first gave me.”

4]
Case: 1:25-cr-00204-BYP Doc #:1 Filed: 05/01/25 42 of 61. PagelD #: 42

RONDON replied, “You brought it back to me, I even got rid of the old s**t [old drugs] she
brought me back 10 [grams].” ANTHONY said, “So you’re trying to tell me there’s nothing
wrong with that bag?” ANTHONY said, “I’ve never played it like that.” COLON replied, “Let
me talk, so he gave you an ounce [of drugs]?” ANTHONY replied, “Yes.” COLON replied, “So
you brought back him 10 grams back so you sold 18 grams of that ounce [of drugs]?”
ANTHONY said, “No I didn’t, I told him that s**t was melted that s**t was like ruined.”
COLON replied, “I don’t care what the f**k y’all do but one of y’all got to figure out who’s
going to pay me my money [drug proceeds] because I’ve been waiting long enough, Joel
[RONDON] gave it to you, you got to handle that business whatever you got to do with her
[ANTHONY], but I know I need my money [drug proceeds].” RONDON said, “[To
ANTHONY] come see me.”

127. On July 1, 2024, at approximately 6:08 p.m., PAYNE texted, “3 [amount of
drugs] if you can.” At approximately 6:09 p.m., COLON texted, “Ok.” At approximately 6:23
p.m., COLON texted PAYNE, “Wya.” At approximately 6:24 p.m., PAYNE texted, “Coming
down the street,” and “3min.”

128. On July 2, 2024, at approximately 2:06 p.m., COLON sent a text message to A.A.,
stating, “Joel [RONDON] said send that money [drug proceeds].” At approximately 2:25 p.m.,
AA texted, “I did.”

129. On July 3, 2024, at approximately 11:15 a.m., COLON had a conversation with
PULVINO. COLON said, “yo.” PULVINO replied, “Wassup busta.” COLON said, “What’s up
buster?” PULVINO replied, “Not s**t, what you on boi?” COLON replied, “S**t mother uh,
what the, hold on. . .” PULVINO, “You hear me?” COLON said to an unknown male in the

background, “What the f**k happened to this p**sy this, nah this... i’m just. This.” Unknown

42
Case: 1:25-cr-00204-BYP Doc #:1 Filed: 05/01/25 43 of 61. PagelD #: 43

Male in the background replied, “Oh, yeah, it’s it’s in here. It was just too much of a pain in the
ass to put in right last night. I’m getting irritated so I just.” COLON said, “What’s up with you
man?” Unknown Male said, “I’1l put it in”’ PULVINO replied, “Not s**t ’'m on my way right
now God damn, I’ll be in town at like 8 o’clock tonight. You want me to stop by?” COLON
replied, “Yeah.” PULVINO replied, “Alright, bet. F*****g see, see what you can get together
for me and s**t and then, uh, imma stop by and I get to work through the weekend and then I’m
leaving Sunday. And then.” COLON said, “Alright.” PULVINO said, “IfI can, if I can bring
something back with me that way I can feed these m********kers tonight. You know what I
mean?” COLON said, “Ah yeah for sure.” PULVINO said, “But uh no I'll be in town around 8.
I'll touch base with you . . . slide through and s**t. Um what I was about to say hey what are you
doing Friday night?” COLON replied, “Um I don’t even know yet.” PULVINO said, “Alright,
alright, well there’s this f**king concert going down at Forward. I don’t know if it’s your style. I
guess it’s some black country singer or whatever but it’s gonna be f**king crazy so look into...
wanna meet me out there?” COLON said, “Alrighty then.” PULVINO said, “Alright, brother, [’1l
call you in a couple hours.” COLON said, “Alright.” PULVINO said, “Alright, bye.”

130. On July 3, 2024, at approximately 12:18 p.m., COLON received an incoming
telephone call from BELL. BELL said, “Are you around?” COLON replied, “I’m always
around.” BELL said, “Perfect, I just got back to my shop, I gotta make some phone calls here,
probably need about 20, 30 minutes here and then I'll be uh I'll be on my way over to ya. Pll
give you a buzz as soon as I’m getting ready to leave the shop.” COLON replied, “Okay, well,
yeah that’s cool. Uh let me know what you want [amount of drugs] cause I actually have to go
pick it up.” BELL said, “That’s fine, grab me, grab me [pauses] a half’s fine. Just grab a half

[half an ounce].”

43
Case: 1:25-cr-00204-BYP Doc #:1 Filed: 05/01/25 44 of 61. PagelD #: 44

131. On July 3, 2024, at approximately 2:18 p.m., BELL texted COLON, “Here.”

132. On July 3, 2024, at approximately 5:24 p.m., COLON made an outgoing
telephone call to RONDON. COLON said, “How many beans [drug pills] are left upstairs?”
RONDON replied, “Huh?” COLON said, “How many beans [drug pills] are left?” RONDON
replied, “How many what?” COLON said, “Beans, m******###*r, beans.” RONDON replied,
“S**t I forgot about them s***s, Let me see where they are at, I will let you know.”

133. On July 3, 2024, at approximately 5:26 p.m., RONDON called COLON. COLON
said, “I only need two, I don’t need nothing, I just need two [drug pills], I am about to go get me
fk****o food.”

134. On July 3, 2024, at approximately 7:34 p.m., COLON received an incoming
telephone call from PULVINO. PULVINO said, “Yo, are you there?” COLON replied, “Yeah.”
PULVINO said, “Alright I am about to pull up.”

135. On July 3, 2024, at approximately 7:38 p.m., PULVINO called COLON.
PULVINO said, “Open up the . . .” PULVINO arrived at 3**0 West 41* Street, Cleveland, Ohio,
and received narcotics from COLON.

136. On July 4, 2024, at approximately 11:31 p.m., COLON received an incoming
telephone call from RONDON. RONDON said, “What’s her name [SYDNEY] text you she got
some money [drug proceeds]?” COLON replied, “Huh?” RONDON said, “Did what’s her name
text you she got some money?” COLON replied, “Who?” RONDON said, “Sydney” COLON
replied, “No” RONDON said, “I was calling her to see if she got some bread [drug proceeds]
today.” COLON replied, “She better get her m*******#***g life together.” RONDON said,

“ .. text you after she got the bread.”

44
Case: 1:25-cr-00204-BYP Doc #:1 Filed: 05/01/25 45 of 61. PagelD #: 45

137. On July 5, 2024, at approximately 6:03 p.m., COLON received an incoming
telephone call from POMALES. COLON said, “Going right over here at... Why what is
happenin’?” POMALES replied, “You are selling me one of them guns n***a.” COLON said,
“Whatever one you want, good brother.” POMALES replied, “Your lying ass, bitch ass, n****a.
Habha.” COLON said, “Hahah” POMALES replied, “Naw n***a, naw n***a.” COLON said,
“You can have that AR [automatic rifle].” POMALEs replied, “Nah I was that shotgun, n****a
that’s what I want.” COLON said, “Awwwwwe n***a, You getting that AR you want to buy one
I will sell you that AR.” POMALES replied, “I want the AR.” COLON said, “You want the
AR?” POMALES replied, “Buy some s**t on them s**t, b***h get caught- N***a I was... and
the n***a was sitting there waiting on me.” COLON said, “N***a I called you 15 times, he even
called you.” POMALES replied, “Man.” COLON said, “You can have them b***es n***a I
don’t give a f**k.” POMALES replied, “Nah, n***a, nah b***h it ain’t even about that.”
COLON said, “Then why are you calling me complaining then, b***h? If you don’t even want to
buy them.” POMALES replied, “That b¥**h a** n***a shouldn’t. I should have just dogged that
n***a for that s**t. that s**t is unreal. If you are you are going to sit there pay me something.
That n***a gonna play that dumb a** road like damn n***a just tell me that is what you did,
b***h.” COLON said, “Yeah. If you thinkin’ you want to buy these b***h, I don’t give a f**k.”
POMALES replied, “Aw n***a just let me get my m********kin’ dezzie back, bruh.” COLON
said, “I alright told you you could have it back. I told you what I want for it. | wanted my bike
done.”

138. On July 6, 2024, at approximately 10:19 p.m., COLON received in incoming

telephone call from BRANTLEY. COLON said, “Yea and I’Il probably get with you tomorrow

45
Case: 1:25-cr-00204-BYP Doc #:1 Filed: 05/01/25 46 of 61. PagelD #: 46 ~

[buy drugs].” BRANTLEY replied, “Okay, on what the nine [nine ounces of drugs] or [thing]?”
COLON said, “Um I don’t know Ill you know tomorrow.”

139. On July 6, 2024, at approximately 10:26 p.m., COLON made an outgoing
telephone call to BYRD. During the conversation COLON said, “My girl, my girl f**k you and
she mad at you.” BYRD replied, “To who? why she mad at me?” COLON replied, “. . . cause
you tried charge her a hundred and fifty dollars a gram last night [cost for gram of drugs].”
BYRD replied, “Cause that’s how much they [drugs] cost. Well, that’s how much I sell them for
[admitting he’s a drug dealer].” COLON said, “. . . that’s what I told her.”

140. On July 07, 2024, PULVINO drove to Fort Bragg and was traffic stopped.
PULVINO possessed approximately 18 grams of cocaine.

141. On July 7, 2024, at approximately 3:26 p.m., COLON received an incoming
telephone call from BELL. COLON said, "Whelp since you called me now I’m about to go park
it and about to meet you at my house in 20 minutes." BELL replied, “That’s fine cause I’m
gonna be heading to Columbus this week, I completely forgot so I gotta swing by you know, I’ll
be 25 30 minutes so." COLON said, "I’ll meet you there" BELL replied, "There or Woodbridge."
COLON said, "There" BELL replied, "Ok."

142. On July 7, 2024, at approximately 3:51 p.m., COLON and BELL had a telephone
conversation. COLON said, “I just got off the boat. That f**king train came man. I got stuck
between...” BELL replied, “You’re good man. Where . . . what you need about fifteen to get
over to here?” COLON said, “Jumping in my car now. It’s only going to take me few minutes.”
BELL replied, “Alright, alright I’ll stick here than.” COLON said, “Alright.” BELL replied, “See

ya ina bit.”

46
Case: 1:25-cr-00204-BYP Doc #:1 Filed: 05/01/25 47 of 61. PagelD #: 47

143. On July 7, 2024, at approximately 4:02 p.m., COLON made an outgoing call to
BELL. BELL said, “What up?” COLON replied, “You never told me what you want [amount of
drugs], I’m down the street too.” BELL said, “Uh just grab me a quarter [of an ounce], I’m on
the phone with the hotel that I’m reserving for the week.” COLON replied, “Okay, alright.
Alright I'll be there.”

144. On July 8, 2024, at approximately 12:22 p.m., COLON received an incoming
telephone call from BYRD. BYRD said, “Hey um I won’t be until about two-thirty, I’m runnin’
out.” COLON replied, “Aight.” BYRD said, “I got, I gotta Jay to the house real-quick.” COLON
replied, “Oh yea ‘cause I picked this up, s**t up and I’m drivin’ around with this s**t [drugs].”
BYRD said, “Oh s**t okay where you at then?” COLON replied, “I’m at the shop [POMALES’
shop].” BYRD said, “just get .. . bring it back... at the shop?” COLON replied, “Yea.” BYRD
replied, “Okay, um, but damn. Okay I’ll hurry up. I got my two on my way straight and then
straight to you.”

145. On July 8, 2024, at approximately 6:63 p.m., COLON made an outgoing
telephone call to CRESPO. CRESPO said, “Nah she [SYDNEY] ain’t gonna pay [drug
proceeds], bro I never told her [ANTHONY] not to pay you. I was willing I said b***h even
thought you just back doored me with a n***a you knew I was f***ing with, Oh no I f**k with
Joel [LUIS JOEL RONDON], I don’t give a f**k b***h. You see rank on his daughter’s mother
f***ing baby dad b***h and I don’t believe you. So, like that you be talking like that. Guess
what that was on you. But I’m willing to make sure that you can make some money but I’m not
selling that bag [drugs]. She went and picked up a bag [drugs] from . . . how many grams [of
drugs] but she did all that s**t. That money is not coming back to us [drug proceeds to the

DTO].” COLON replied, “She gonna pay or her momma and daddy gonna pay for her.”

47
Case: 1:25-cr-00204-BYP Doc #:1 Filed: 05/01/25 48 of 61. PagelD #: 48

CRESPO said, “I’m telling you I said did Joel [RONDON] give you your 600 dollars because
she owes me 300 dollars right [drug proceeds]. She like trying to act like she broke I made that
b***h give me my money back. She like yeah he did then a few hours later she telling me that he
paid her back and that s**t. So, she did it all before she left to my house or didn’t go... PI
whoop her a** n***a she only had a gram left [of drugs].” COLON said, “Yep that don’t matter
she gonna pay for it her momma gonna pay for it or her daddy gonna pay for it that it that.”
CRESPO said, “No but you gotta be cautious.” COLON replied, “I don’t f**k with her, she ain’t
g’tting’ nothin [drugs] ever again. She about to pay for that and that’s that.” CRESPO said, “It’s
not about that, it’s like.” COLON replied, “She can tell the police whatever the f**k she want to
tell ‘em, I don’t give a f**k.” CRESPO said, “She got. . .”and “I take that s**t real personal,
when she talking like this and she told me some s**t like that. I don’t know, they been on your
a** ” COLON replied, “F**k her.” CRESPO said, “You get what I’m saying.” COLON replied,
“Yeah she can call em, she can a report she can tell em whatever they want they ain’t gonna see
nothing.” CRESPO said, “F**k her .. do whatever you gotta do right now.”

146. On July 9, 2024, at approximately 7:46 p.m., COLON made an outgoing
telephone call to MARSH. MARSH said, “I got your text message, right, but I just got your note
saying I said bro Um Charlie didn’t find that order [drug order], I don’t have no notes [drug
ledger] when I got home.” COLON replied, “Okay, I was looking over there.” MARSH said,
“Me, oh I’m, I’m out, I’ve been out, since like a week [haven’t been selling drugs for a week]”
COLON replied, “Oh s**t. Okay, alright.” MARSH said, “Since like a week ago. that’s why
Ryan [RYAN BELL] was coming to you [buying drugs from COLON], cause I didn’t have, I
gave him the little bit [amount of drugs] I had left and that was when I was on vacay type s**t.”

COLON replied, “Right.” MARSH said, “And that’s why I thought he was coming to you for at

48
Case: 1:25-cr-00204-BYP Doc #:1 Filed: 05/01/25 49 of 61. PagelD #: 49

least a week in a half, almost least two weeks [buying from COLON].” COLON teplied, “Hell
no.” MARSH said, “I hit him up, I’ve hit him up twice since I’ve been home, he haven’t even
hit me back. So I’m gonna call him and see if he’s alright here tomorrow, I’m gonna call him
tonight actually and see if he’s alright cause ain’t text me back yet.” COLON replied, “Oh.”
MARSH said, “If you wanna drop this s**t off, you can, I know, I know, how you, I mean I
know you was trying to get some endo, so I wasn’t even gonna ask my hand or nothing like that
you feel me?” COLON replied, “Yeah, yeah, yup.” MARSH said, “Give me uh, let me uh.”
COLON replied, “Just give me a minute.” MARSH said, “Yeah, just let me know if you wanna
pull around and drop s**t off, I got some work, I mean some plays [drug sales], you know I got
some plays that I work on.” COLON replied, “Yeah, yeah for sure. Alright.” MARSH said,
“Just let me know”

147. On July 10, 2024, at approximately 5:34 p.m., COLON received an incoming
telephone call from BYRD. COLON said, “I meant to tell you, I forgot to tell you the other day I
was mother f***ing getting drunk and kicking it. I don’t know if that last one [amount of drugs]
was short, I meant to tell you to weigh it [drugs].” BYRD replied, “It was, It was like...
between four, but I didn’t care.” COLON said, “Ahh nah you gotta tell me these things, I knew it
was short but I didn’t know how much and I forgot to tell you, that’s why I called you.” BYRD
replied, “Oh, it’s fine I mean you my daddy [supplier], I don’t care, I'll fix it later.” COLON
said, “So yeah whenever you want to come pick it up [remainder of drugs].” BYRD replied,
“It’s cool, I don’t need it right now, but when I do [ll call you.”

148. On July 11, 2024, starting at approximately 8:53 p.m., PAYNE texted COLON,

“Can I come thru [buy drugs]. Got everything upfront [drug money].”

49
Case: 1:25-cr-00204-BYP Doc #:1 Filed: 05/01/25 50 of 61. PagelD #: 50

149. On July 11, 2024, at approximately 9:43 p.m., COLON texted, “Yes give me a
sec.” At 9:43 p.m., PAYNE texted, “ok.” At 10:05 p.m., COLON texted, “Wat u wanted [how
much drugs] n Woodbridge [meet location,] Wat u wanted,” then “Yo00.” At 10:13 p.m.,
PAYNE texted, “One [amount of drugs]. Omw.” COLON texted, “Ok.” At approximately 10:25
p.m., PAYNE texted, “2 min.”

150. On July 12, 2024, at approximately 6:28 p.m., COLON made an outgoing
telephone call to RONDON. COLON said, “Aye, I need. . . bring me my box down, 2 baggies
and a scale [drug preparation paraphernalia].” RONDON replied, “. . . 2 baggies?” COLON said,
“Anda scale. A scale...” RONDON replied, “Yea.” COLON said, “2 baggies and my box.”
RONDON replied, “Alright.”

151. On July 14, 2024, at approximately 2:38 p.m., COLON sent an outgoing text
message to WATTS. COLON texted, “Cash app business time [send drug proceeds].”

152. On July 15, 2024, at approximately 4:27 p.m., COLON received an incoming
telephone call from PAYNE. PAYNE said, “Yo, can I come thru [meet for drugs]?” COLON
replied, “Ya what’s you wanted [how much drugs]?” PAYNE said, “Uh, One.” COLON replied,
“Alright.” PAYNE said, “Alright.” COLON replied, “I meet you on, uh, Woodbridge.” PAYNE
said, “Alright, uh, I’m not, I’m not at my house so it’lI be like twenty minutes.”

153. On July 15, 2024, at approximately 8:32 p.m., COLON received an incoming
telephone call from GREENLEE. GREENLEE said, “Where you at?’ COLON replied, “Um,
coming down Warren.” GREENLEE said, “To my way? You want me to meet you, what’s going
on?” COLON replied, “Oh s**t! Damn, that’s what I meant to tell you, that’s what I forgot to tell

you, uh your mom gots it [drugs]. Your mom gots some [drugs].” GREENLEE said, “Oh,

50
Case: 1:25-cr-00204-BYP Doc #: 1 Filed: 05/01/25 51 of 61. PagelD #: 51

alright.” COLON replied, “Ya, ya, ya, I don’t know why I didn’t call you back I was too f*****g
like got s**t going on.”

154. On July 15, 2024, at approximately 8:39 p.m., COLON made an outgoing
telephone call to GREENLEE. GREENLEE said, “What happened?” COLON replied, “You
called me.” GREENLEE said, “Ya... the work, what’s up?” COLON replied, “Oh, naw, I was
talking to Joel [RONDON].” GREENLEE said, “They said, she waiting on you.” COLON
replied, “Who?” GREENLEE said, “My momma.” COLON replied, “How she waiting on me,
she didn’t call me.” GREENLEE said, “She said she been waiting on you that’s why she don’t
got nothing [drugs].”” COLON replied, “N***a that’s a lie because I just took her a half ounce
[amount of drugs] the other day she owes me $350 [drug money].” GREENLEE said, “Oh,
alright.”

155. On July 16, 2024, at approximately 11:57 am., CALVERT texted COLON, “TI got
100 not 125. Dude [drug customer] was gonna cash app me but he’s gotta wait til tomorrow to
get his money now.”

156. On July 16, 2024, at approximately 1:45 p.m., COLON and A.V. distributed
narcotics to an unidentified drug customer.

157. On July 16, 2024, at approximately 4:32 p.m., A.V. distributed narcotics to a drug
customer from 3**0 W 41° Street, Cleveland, Ohio.

158. On July 18, 2024, at approximately 5:32 p.m., COLON made an outgoing
telephone call to CALVERT. CALVERT said, “Hey I guess I’m right here on uh Scranton right I
just crossed 25th.” COLON replied, “I’m right in between 25th and Scranton.” CALVERT said,
“Aw s**t.” COLON replied, “You gonna see a shop [POMALE’s shop] right here with the

garage door open.” CALVERT said, “Okay.” COLON replied, “If you coming from Clark it’s on

51
Case: 1:25-cr-00204-BYP Doc #:1 Filed: 05/01/25 52 of 61. PagelD #: 52

your left hand side across the street from the church.” CALVERT said, “I’m... here at Two
Amigos.” COLON replied, “No that’s on Scranton.” CALVERT said, “Oh.” COLON replied,
“We on we on Clark.” CALVERT said, “Oh s**t. You on Clark.” COLON replied, “So turn
around and make a right on Clark . . . right next to the library.” CALVERT said, “Okay. The
library. See I don’t really know this area too well.” COLON replied, “. . .” CALVERT said,
“Yeah” COLON replied, “I don’t even know where | f***ing put the s**t [drugs] at.”
POMALES said in background, “In the bag.” CALVERT said, “Aw where the f**k Clark at?
Man I’m on Seymour.” COLON replied, “Oh it’s [drugs] right in my pocket.” POMALES said in
background, “Yeah.” COLON replied, “. . . Jeep right there.” POMALES said, “Nah you f***ing
stupid. Like I’m gonna go meet him [CALVERT].” POMALES gets on COLON’s telephone and
said, “Where you at?” CALVERT replied, “I’m on Seymour right now on West 25th. Bout to go
back.” POMALES said, “Why’d you go that way?” CALVERT replied, “I just turned around real
quick.” POMALES said, “Alright well turn back around come to Scranton because you go to
West 25th that’s gonna take too long so just turn back around come back towards Scranton.”
CALVERT replied, “Okay. I’m turned around right now. Aw I’m going towards Scranton right
no.” POMALES said, “When you get to Scranton make a right.” CALVERT replied, “Make a
right? Okay that’s what’s up.” POMALES said, “I got him I got him I got him. When you get to
the light when you get to the light the second light not the first one.” CALVERT replied, “Okay.”
POMALES said, “You get to Clark.” CALVERT replied, “Okay.” POMALES said, “Take a
right.” CALVERT replied, “Oh, I turn right I see the first light I see the second light.”
POMALES said, “Take a right.” CALVERT replied, “Okay . . .” POMALES said, ““When the gas
station at make a right.” CALVERT replied, “Right, right okay. Still at this light right now.”

POMALES said, “What you driving? That red Toyota Corolla?” CALVERT replied, “Yeah.

52
Case: 1:25-cr-00204-BYP Doc #:1 Filed: 05/01/25 53 of 61. PagelD #: 53

Toyota Camry.” POMALES said, “Whatever it is.” CALVERT replied, “Yeah, it’s red though.
How’d you know what I was driving man?” POMALES said, “Cuz we got eyes on everybody.”
CALVERT replied, “I’m just talking s**t man I’m just f***ing with you. Don’t matter to me
man s**t you can get my address and everything. Alright I’m going uh right on Clark... I’m on
Clark. Stuck in traffic.” POMALES said, “Right here . . . white truck.” CALVERT replied,
“Yeah.” POMALES said, “There it is...” CALVERT replied, “You hopping in real quick?
[POMALES getting into CALVERT’s vehicle for drug deal].” POMALES replied, “Yeah,
I’mma hop in [get into CALVERT’s vehicle to conduct drug deal].” CALVERT replied, “That’s
what’s up.”

159. On July 18, 2024, at approximately 10:46 p.m., COLON received an incoming
telephone call from DOLAN. DOLAN said, “Is there anything [drugs] at the house?” COLON
replied, “Whatever you got over there, why[DOLAN’s drugs]?” DOLAN said, “There’s nothing
else.” COLON replied, “Nope.” DOLAN said, “Alright, cause I seen the police were at the
corner earlier, and a couple vice cars going up and down, and your mom [RIOS] just came over
here and pulled up on me.” COLON replied, “Alright listen.” DOLAN said, “She [RIOS] said
she seen a whole bunch of them all over here.” COLON replied, “Alright f*****g go over there
and tell her that there’s a jacket right behind my door hanging up.” DOLAN said, “At your
house?” COLON replied, “At my mom’s house [RIOS].” DOLAN said, “There’s a jacket.”
COLON replied, “There’s a jacket behind the door hanging up inside the pocket there’s two bags
[of drugs] and then on the little dresser there’s a white box and all the rest of my stuff [drugs] is
there.” DOLAN said, “Ok, so, jacket behind the door, and on the dresser there’s a white box.”
COLON replied, “Yeah.” DOLAN said, “Jacket behind the door on what dresser is it.” COLON

replied, “Yep the white box and the jacket behind the door.” DOLAN said, “Ok what dresser

53
Case: 1:25-cr-00204-BYP Doc #:1 Filed: 05/01/25 54 of 61. PagelD #: 54

though?” COLON replied, “Right next to my bed the little one.” DOLAN said, “Ok the little
nightstand.” COLON replied, “Yep, a white box up there and right behind my door the jacket.”
DOLAN said, “Alright what color is the jacket?” COLON replied, “It’s the jean jacket hanging
right there on the door as soon as you open the door.” DOLAN said, “Ok, I’m going to go over
here and tell her [RIOS] now, yeah, I see them all earlier too.” COLON replied, “No, they been
by the house, they been by there all day.” DOLAN said, “Ok, and it’s Thursday too.” COLON
replied, “Yeah I know.”

160. On July 19, 2024, starting at approximately 4:44 p.m., COLON and MASTERS
engaged in a text message conversation. MASTERS texted, “You got 2-8s [amount of drugs].”

161. On July 19, 2024, at approximately 5:26 p.m., COLON texted, “How long u
gonna be.” MASTERS texted, “Be about 30 minutes.” MASTERS texted, “Go to your place”
COLON texted, “No” and “Woodbridge.” MASTERS texted, “Okay headed your way. Thanks.”
MASTERS texted, “4007.” COLON texted, “Yea.” MASTERS texted, “10 minutes.” COLON
texted, “Ok.”

162. On July 19, 2024, at approximately 5:59 p.m., MASTERS texted, “I’m here” and
“You got 2 of them.” At approximately 6:07 pm, MASTERS texted, “You in the BMW.” At
approximately 6:12 pm, COLON texted, “Yes.”

163. On August 7, 2024, at approximately 6:00 a.m., POMALES possessed an
automatic rifle at his shop.

164. On August 7, 2024, at approximately 6:00 a.m., COLON and RIOS possessed a
firearm, 290.01 grams of cocaine, and 33.36 grams of methamphetamine.

165. On August 13, 2024, BRANTLEY distributed 249.59 grams of cocaine to a

person posing as a drug buyer.

54
Case: 1:25-cr-00204-BYP Doc #: 1 Filed: 05/01/25 55 of 61. PagelD #: 55

166. On September 3, 2024, BRANTLEY distributed 249.32 grams of cocaine to a
person posing as a drug buyer.

167. On October 8, 2024, BRANTLEY distributed 248.79 grams of cocaine to a
person posing as a drug buyer.

168. On November 11, 2024, BRANTLEY distributed 249.14 grams of cocaine to a
person posing as a drug buyer.

169. On December 3, 2024, at approximately 6:00 a.m., BRANTLEY possessed with
intent to distribute 498.43 grams of cocaine.

All in violation of Title 21, United States Code, Section 846.

COUNT 2
(Possession with Intent to Distribute a Controlled Substance,
21 U.S.C. §§ 841(a)(1) and (b)(1)(C), and 18 U.S.C. § 2)
The Grand Jury further charges:

173. Onor about August 7, 2024, in the Northern District of Ohio, Eastern Division,
Defendant JUAN JOHNNY COLON did knowingly and intentionally possess with intent to
distribute approximately 290.01 grams of a mixture and substance containing a detectable
amount of cocaine, a Schedule II controlled substance, in violation of Title 21, United States
Code, Sections 841(a)(1) and (b)(1)(C), and Title 18, United States Code, Section 2.

COUNT 3
(Possession with Intent to Distribute a Controlled Substance,
21 U.S.C. §§ 841(a)(1) and (b)(1)(C), and 18 U.S.C. § 2)
- The Grand Jury further charges:
173. Onor about August 7, 2024, in the Northern District of Ohio, Eastern Division,

Defendant JUAN JOHNNY COLON did knowingly and intentionally possess with intent to

distribute approximately 33.36 grams of a mixture and substance containing a detectable amount

55
Case: 1:25-cr-00204-BYP Doc #:1 Filed: 05/01/25 56 of 61. PagelD #: 56

of methamphetamine, a Schedule II controlled substance in violation of Title 21, United States

Code, Sections 841(a)(1) and (b)(1)(C), and Title 18, United States Code, Section 2.

COUNT 4
(Distribution of Controlled Substances, 21 U.S.C. §§ 841(a)(1) and (b)(1)(C))

The Grand Jury further charges:

174. Onor about August 13, 2024, in the Northern District of Ohio, Eastern Division,
Defendant DEREK BRANTLEY did knowingly and intentionally distribute approximately
249.59 grams of a mixture and substance containing a detectable amount of cocaine, a Schedule
II controlled substance, in violation of Title 21, United States Code, Sections 841(a)(1) and
(b)C)(C).

COUNT 5
(Distribution of Controlled Substances, 21 U.S.C. §§ 841(a)(1) and (b)(1)(C))
The Grand Jury further charges:

175. Onor about September 3, 2024, in the Northern District of Ohio, Eastern
Division, Defendant DEREK BRANTLEY did knowingly and intentionally distribute
approximately 249.32 grams of a mixture and substance containing a detectable amount of
cocaine, a Schedule II controlled substance, in violation of Title 21, United States Code, Sections
841(a)(1) and (b)(1)(C).

COUNT 6
(Distribution of Controlled Substances, 21 U.S.C. §§ 841(a)(1) and (b)(1)(C))

The Grand Jury further charges:

56
Case: 1:25-cr-00204-BYP Doc #:1 Filed: 05/01/25 57 of 61. PagelD #: 57

176. Onor about October 8, 2024, in the Northern District of Ohio, Eastern Division,
Defendant DEREK BRANTLEY did knowingly and intentionally distribute approximately
248.79 grams of a mixture and substance containing a detectable amount of cocaine, a Schedule
II controlled substance, in violation of Title 21, United States Code, Sections 841(a)(1) and
(b))(C).

COUNT 7
(Distribution of Controlled Substances, 21 U.S.C. §§ 841 (a)(1) and (b)(1)(C))

The Grand Jury further charges:

177. Onor about November 11, 2024, in the Northern District of Ohio, Eastern
Division, Defendant DEREK BRANTLEY did knowingly and intentionally distribute
approximately 249.14 grams of a mixture and substance containing a detectable amount of
cocaine, a Schedule II controlled substance, in violation of Title 21, United States Code, Sections
841(a)(1) and (b)(1)(C).

COUNT 8
(Possession with Intent to Distribute a Controlled Substance,
21 ULS.C. §§ 841(a)(1) and (b)(1)(C), and 18 U.S.C. § 2)
The Grand Jury further charges:

178. Onor about December 3, 2024, in the Northern District of Ohio, Eastern
Division, Defendant DEREK BRANTLEY did knowingly and intentionally possess with intent
to distribute approximately 498.43 grams of a mixture and substance containing a detectable
amount of cocaine, a Schedule II controlled substance, in violation of Title 21, United States
Code, Sections 841(a)(1) and (b)(1)(C), and Title 18, United States Code, Section 2.

COUNT 9
(Possession with Intent to Distribute a Controlled Substance,

21 U.S.C. 8§ 841(a)(1) and (b)(1)(C), and 18 U.S.C. § 2)

The Grand Jury further charges:

57
Case: 1:25-cr-00204-BYP Doc #:1 Filed: 05/01/25 58 of 61. PagelD #: 58

179. Onor about December 3, 2024, in the Northern District of Ohio, Eastern
Division, Defendant DEREK BRANTLEY did knowingly and intentionally possess with intent
to distribute approximately 5.23 grams of a mixture and substance containing a detectable
amount of fentanyl (4-ANPP, Xylazine and Fluorofentanyl), a Schedule II controlled substance,
violation of Title 21, United States Code, Sections 841(a)(1) and (b)(1)(C), and Title 18, United
States Code, Section 2.

COUNT 10
(Felon in Possession of Firearm and Ammunition,
18 U.S.C. §§ 922(g)(1) and 924(a)(8))
The Grand Jury further charges:

180. On or about August 7, 2024, in the Northern District of Ohio, Eastern Division,
and elsewhere, Defendant LUIS JOEL RONDON, knowing he had previously been convicted of
a crime punishable by imprisonment for a term exceeding one year, that being: Drug Possession,
Case Number CR-17-617476-A, in the Cuyahoga County Court of Common Pleas, on or about
April 11, 2018, did knowingly possess, in and affecting interstate commerce a firearm, to wit: a
Springfield XD-45 serial number 3326632; having been shipped and transported in interstate
commerce, in violation of Title 18, United States Code, Sections 922(g)(1) and 924(a)(8).

COUNT 11
(Felon in Possession of Firearm and Ammunition,
18 U.S.C. §§ 922(g)(1) and 924(a)(8))
The Grand Jury further charges:

181. Onor about August 7, 2024, in the Northern District of Ohio, Eastern Division,

and elsewhere, Defendant MARTHA RIOS, knowing she had previously been convicted of a

crime punishable by imprisonment for a term exceeding one year, that being Aggravated

Trafficking in Drugs, Case Number CR-94-310295, in the Cuyahoga County Court of Common

58
Case: 1:25-cr-00204-BYP Doc #:1 Filed: 05/01/25 59 of 61. PagelD #: 59

Pleas, on or about January 31, 1995; Drug Abuse and Possession of Criminal Tools, Case

Number CR-310295, in the Cuyahoga County Court of Common Pleas, on or about January 31,

1995, did knowingly possess, in and affecting interstate commerce a firearm, to wit: a Heckler

and Koch USP-Tactical .45, bearing serial number 25-085719; said firearm having been shipped

and transported in interstate commerce, in violation of Title 18, United States Code, Sections

922(g)(1) and 924(a)(8).

COUNTS 12-29

(Use of a Communications Facility to Facilitate a Felony Drug Offense, 21 U.S.C. § 843(b))

The Grand Jury further charges:

On or about the dates listed below, in the Northern District of Ohio, Eastern

Division, and elsewhere, the Defendants listed below did knowingly and intentionally use a

communication facility, to wit: a telephone, to facilitate acts constituting a felony under Title 21,

United States Code, Sections 846 and 841(a)(1):

Count Defendants Date Time ()

12 JUAN JOHNNY COLON May 17, 2024 8:24 p.m.
MASON PULVINO

13 JUAN JOHNNY COLON May 17, 2024 11:53 p.m.
MARK BYRD

14 JUAN JOHNNY COLON May 18, 2024 4:32 p.m.
LUIS JOEL RONDON

15 JUAN JOHNNY COLON May 21, 2024 8:56 p.m.
SEAN MASTERS

16 JUAN JOHNNY COLON May 22, 2024 3:33 p.m.
KALEM WATTS

17 JUAN JOHNNY COLON May 24, 2024 2:35 p.m.
DEREK BRANTLEY

18 JUAN JOHNNY COLON May 28, 2024 9:08 p.m.
ANDRE JENKINS

19 JUAN JOHNNY COLON May 29, 2024 10:31 p.m.
NICHOLAS MALUSKY

20 JUAN JOHNNY COLON May 30, 2024 12:57 p.m.
JORDAN MARSH

21 JUAN JOHNNY COLON June 5, 2024 7:17 p.m.
MELANIE CRESPO

59

Case: 1:25-cr-00204-BYP Doc #:1 Filed: 05/01/25 60 of 61. PagelD #: 60

22 JUAN JOHNNY COLON June 7, 2024 3:53 p.m.
NICHOLAS CALVERT

23 JUAN JOHNNY COLON June 9, 2024 10:56 p.m.
MARTHA RIOS

24 JUAN JOHNNY COLON June 19, 2024 7:45 p.m.
JOCELYN DOLAN

25 JUAN JOHNNY COLON June 20, 2024 5:46 p.m.
BRANDON PAYNE

26 JUAN JOHNNY COLON June 28, 2024 12:15 p.m.
RYAN BELL

27 JUAN JOHNNY COLON July 1, 2024 5:33 p.m.
SYDNEY ANTHONY

28 JUAN JOHNNY COLON July 5, 2024 6:03 p.m.
LEE POMALES

29 JUAN JOHNNY COLON July 15, 2024 8:32 p.m.
ANTONIO GREENLEE

All in violation of Title 21, United States Code, Section 843(b).

FORFEITURE

The Grand Jury further charges:

183. For the purpose of alleging forfeiture pursuant to 21 U.S.C. * 853, 18 U.S.C. §
924(d)(1) and 28 U.S.C. § 2461(c), the allegations of Counts 1 through 29, inclusive, are
incorporated herein by reference. As a result of the foregoing offenses, Defendants DEREK
BRANTLEY, JUAN JOHNNY COLON, LUIS JOEL RONDON, SYDNEY ANTHONY,
RYAN BELL, MARK BYRD, NICHOLAS CALVERT, JOCELYN DOLAN, ANTONIO
GREENLEE, ANDRE JENKINS, MELANIE CRESPO, JORDAN MARSH, NICHOLAS
MALUSKY, SEAN MASTERS, BRANDON PAYNE, LEE POMALES, MASON PULVINO,
MARTHA RIOS, KALEM WATTS shall forfeit to the United States any and all property
constituting, or derived from, any proceeds they obtained, directly or indirectly, as the result of
such violations; any and all of their property used or intended to be used, in any manner or part,

to commit or to facilitate the commission of such violations; and, all firearms and ammunition

60

Case: 1:25-cr-00204-BYP Doc #:1 Filed: 05/01/25 61 of 61. PagelD #: 61

involved in or used in the commission of such violations; including, but not limited to the

following:

A.

B.

$31,566 in U.S. Currency seized from DEREK BRANTLEY, on December 3,
2024;

Sig Saur P220 9mm bearing serial number 47E029143, seized from Woodbridge
on August 7, 2024 [JUAN JOHNNY COLON, LUIS JOEL RONDON];
Heckler and Koch USP Compact 9mm pistol bearing serial number 24-151198,
seized from Woodbridge, on August 7, 2024 [JUAN JOHNNY COLON, LUIS
JOEL RONDON];

~ Heckler and Koch USP Compact .45 ACP pistol bearing serial number 29-

090642, seized from Woodbridge, on August 7, 2024 [JUAN JOHNNY COLON,
LUIS JOEL RONDON];

Grey Ghost Precision GGP-CP bearing serial number GGC3411, seized from
Woodbridge, on August 7, 2024 [JUAN JOHNNY COLON, LUIS JOEL
RONDON}];

Glock 19 9mm pistol bearing serial number BGUE386, seized from Woodbridge,
on August 7, 2024 [JUAN JOHNNY COLON, LUIS JOEL RONDON];
Palmetto State Armory PA-15 bearing serial number LW050728, seized from
Woodbridge, on August 7, 2024 [JUAN JOHNNY COLON, LUIS JOEL
RONDON];

Diamondback Firearms, Model D-15 bearing serial number DB1536956, seized
from Clark, on August 7, 2024 [LEE POMALES];

Heckler and Koch USP-Tactical .45 bearing serial number 25-085719, seized
from Archwood, on August 7, 2024 [MARTHA RIOS]; and

Springfield Armory XDS .45 bearing serial number $3326632, seized from
Archwood, on August 7, 2024 [LUIS JOEL RONDON].

A TRUE BILL.

61
